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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

  Jeremiah M., Hannah M. and Hunter M. by
  their next friend Lisa Nicolai; Mary B. and
  Connor B. by their next friend Charles
  Ketcham; David V., George V., Lawrence
  V., Karen V., and Damien V. by their next
  friend Merle A. Maxson; Rachel T.,
  Eleanor T. and Gayle T. by their next friend    Case No. 3:22-cv-00129-JMK
  Rebecca Fahnestock; and Lana H. by her
  next friend Melissa Skarbek individually
  and on behalf of all other similarly situated

                              Plaintiffs,

      v.

  ADAM CRUM, Director, Alaska
  Department of Health and Social Services,
  in his official capacity; KIM GUAY,
  Director, Office of Children’s Services, in
  her    official    capacity;    ALASKA
  DEPARTMENT OF HEALTH AND
  SOCIAL SERVICES; and ALASKA
  OFFICE OF CHILDREN’S SERVICES,

                              Defendants.


       DEFENDANTS’ MOTION TO DISMISS AND BRIEF IN SUPPORT




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                        I.     SUMMARY OF THE MOTION

      Institutional reform cases have been described as “extravagant uses” of judicial

power at odds with the Constitution.1 As Justice Thomas put it:

      Federal courts should pause before using their inherent equitable powers to
      intrude into the proper sphere of the States…A structural reform decree
      eviscerates a State’s discretionary authority over its own program and
      budgets and forces state officials to reallocate state resources and funds…at
      the expense of other citizens, other government programs, and other
      institutions not represented in court.2

      Here, Plaintiffs ask the Court to set budgetary and administrative policy by, among

other things, dictating worker caseloads, ordering Alaska’s Office of Children’s Services

(OCS) to “recruit and/or retain” more “qualified and appropriately trained workers,” and

requiring OCS to “ensure that an adequate array of community-based therapeutic services

are available.” But those are “things that courts, in order to remain courts, cannot and

should not do.”3 For the reasons set forth below, the Court should dismiss the Complaint.4

A.    Threshold Problems.

      i.     Younger Abstention. The Younger5 doctrine instructs federal courts to

abstain from exercising jurisdiction when it would interfere with ongoing state court


1
       Missouri v. Jenkins, 515 U.S. 70, 126 (1995) (Thomas, J., concurring).
2
       Id. at 131 (internal citations omitted).
3
       Cf. id. at 132. The federalism concerns here are even greater than they were in
Missouri, which was a desegregation case. Unlike the aggrieved students in Missouri, every
Named Plaintiff here is a party to a live proceeding pending before an Alaska state court.
By entertaining the relief Plaintiffs request, the Court would not only intrude upon the
prerogatives of Alaska’s executive and legislative branches, but also its judicial branch.
4
       References to the Complaint herein refer to the Amended Class Action Complaint,”
Dkt. 16 (“Am. Compl.”).
5
       Younger v. Harris, 401 U.S. 37 (1971).

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proceedings. Here, Plaintiffs’ sweeping, one-size-fits-all requests for relief would require

the Court to interfere with ongoing Child in Need of Aid (CINA) cases pending in Alaska’s

state superior courts. That is precisely the scenario the Younger doctrine prohibits.

       ii.    O’Shea Abstention. O’Shea6 abstention applies when the plaintiff seeks an

injunction that is effectively a federal audit of ongoing or future state court proceedings.

Here, Plaintiffs’ requests for relief would require the Court to regularly review and audit

superior court decisions in CINA cases. Thus, they are prohibited by O’Shea.7

       iii.   The Rooker-Feldman Doctrine. Rooker-Feldman8 precludes collateral

attacks on state court decisions in federal court, and it applies to all claims that could have

been brought in the state court action. Here, the bulk of the Named Plaintiffs’9 claims relate

to their placements, but superior courts have already                                     with

respect to the Named Plaintiffs. Thus, the Named Plaintiffs’ claims will require the Court

to review Alaska superior court orders and issues that are inextricably intertwined with

those orders, which Rooker-Feldman prohibits.




6
       O'Shea v. Littleton, 414 U.S. 488 (1974).
7
       See, e.g., Native Village of Tununak v. State, 334 P.3d 165 (Alaska 2014) (deviation
from ICWA preference and adoption/placement of child with non-native family); In re
Adoption of Sara J., 123 P.3d 1017 (Alaska 2005) (Native Village of Kasigluk intervened
in OCS proceeding and opposed non-native’s adoption of children; Alaska Supreme Court
affirmed trial court finding of good cause to deviate from ICWA preferred placements).
8
       Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923); District of Columbia Court of
Appeals v. Feldman, 460 U.S. 462 (1983).
9
       As set forth below, the only allegations that matter at this juncture are those of the
Named Plaintiffs. The Court should not consider the Amended Complaint’s class-wide
allegations, or allegations related to unnamed Plaintiffs. See Part III.a, infra.

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       iv.    The Pennhurst Doctrine. Pennhurst10 prohibits federal courts from

awarding forward-looking injunctive relief based on state law. Indeed, “it is difficult to

think of a greater intrusion on state sovereignty than when a federal court instructs state

officials on how to conform their conduct to state law.”11 Here, Plaintiffs seek an injunction

“[r]equir[ing] Defendants to assist unlicensed kinship caregivers in obtaining foster care

licenses to take care of members of the Kinship Subclass.”12 But the only legal basis

Plaintiffs cite that might support that relief is an Alaska state law.13 Accordingly, Plaintiffs’

request is barred by Pennhurst.

       v.     Areas of Traditional State Authority. Federal courts should abstain when

hearing a case “risks a serious federalism infringement.”14 Here, federalism concerns are

high. Child welfare is an area of core state authority, and the intrusion Plaintiffs would

have the Court make into that arena is substantial. Accordingly, the Court should abstain.

       vi.    Lack of Standing/Subject Matter Jurisdiction.15 After Younger, O’Shea,

Rooker-Feldman, and Pennhurst channel nearly all of Plaintiffs’ complaints into superior

court CINA proceedings (because that is where they can, should, and routinely are raised),

what remains are a few aspirational requests for relief that the Court lacks subject matter


10
       Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89 (1984).
11
       Id. at 106.
12
       Am. Compl., p. 93 (request for injunctive relief “m”).
13
       See id.; see also AS 47.14.115 (requiring OCS to assist certain kinship providers in
seeking and obtaining licensure under state law, whenever possible, and to help them to
obtain variances so long as these variances do not implicate the safety of foster children).
14
       J.B. v. Woodward, 997 F.3d 714, 723 (7th Cir. 2021).
15
       Article III standing is a necessary component of subject matter jurisdiction.

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jurisdiction to address. For example, any causal link between the alleged system-wide

problems identified in the Complaint (e.g., alleged worker shortage) and the injuries to the

Named Plaintiffs themselves is conjectural and attenuated. More importantly, it is entirely

speculative whether any of the system-wide relief Plaintiffs request would actually redress

the injuries to the Named Plaintiffs themselves.16 Accordingly, lack of subject matter

jurisdiction disposes of what little of the Complaint is not subject to abstention doctrines.

B.     Pleading Deficiencies.

       If the Court declines to abstain and finds it has subject matter jurisdiction, many of

Plaintiffs’ claims should still be dismissed.

       i.     Improper Requests for Injunctive Relief. Some of Plaintiffs’ requests for

injunctive relief fail to satisfy Rule 65. For instance, Plaintiffs ask the Court to order OCS

to maintain case worker caseloads “at accepted professional standards as developed by

either the COA [Council on Accreditation] and/or the CWLA [Child Welfare League of

America],” two non-profits. Plaintiffs would also have the Court require OCS to “recruit

and/or retain enough qualified and appropriately trained workers…as set by the COA

and/or CWLA.” Both requests violate Rule 65 because they fail to describe the acts

required of OCS with certainty – instead, they refer to standards set by third parties that




16
       Ashley W. v. Holcomb, 34 F.4th 588, 592 (7th Cir. 2022) (Easterbrook, J.) (motion
for rehearing and en banc denied June 15, 2022).

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could be changed at any time. Notably, requests nearly identical to the ones made here have

been struck down for over-breadth.17

       ii.    Failure to Adequately Plead Constitutional Claims. Plaintiffs’ substantive

due process claim fails because the Complaint does not allege the Named Plaintiffs have

been deprived of “basic human needs.” Instead, they assert a litany of rights that are not

constitutionally mandated. The Complaint also fails to meet the Ninth Circuit’s “deliberate

indifference” standard because it fails to identify any policies, practices, or actions that

were deliberately indifferent to the Named Plaintiffs’ rights of personal safety and security.

       iii.   No Recognized Private Right of Action Under the Indian Child Welfare

Act (ICWA). Section 1914 is the only provision in ICWA enforceable through a private

cause of action. Here, Plaintiffs have not pleaded a Section 1914 claim. Instead, Plaintiffs’

claims center around Section 1915 of ICWA. But the Ninth Circuit has never recognized a

private right of action under that Section, and several federal courts have expressly rejected

one. Accordingly, Plaintiffs’ ICWA claim should be dismissed.

       iv.    No Obligation to Make Maintenance Payments to Unlicensed Caregivers

Under 42 U.S.C. § 672(a). Plaintiffs complain that unlicensed relative or kinship

caregivers have not received foster care maintenance payments from OCS, and they request

injunctive relief enjoining OCS from withholding maintenance payments from eligible,

unlicensed kinship caregivers. That claim should be dismissed because the Complaint fails



17
       M.D. by Stukenberg v. Abbott, 907 F.3d 237, 273-74 (5th Cir. 2018) (striking down
injunctive relief setting caseload for over-breadth and describing the trial court’s injunction
as “too blunt a remedy for a complex problem”).

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to allege that any of the caregivers at issue are actually approved as meeting the standards

established for licensing. And there is no legal basis for requiring Defendants to make

payments to caregivers who are not approved as meeting the licensing standards.

       v.     Failure to State Claims Under the ADA and Rehabilitation Act.

Plaintiffs’ ADA and Rehabilitation Act claims should be dismissed because the Complaint

fails to allege Plaintiffs were excluded from participation or otherwise denied benefits

because of their disabilities. Plaintiffs’ claims under Olmstead v. L.C. ex rel. Zimring also

fail because the Complaint does not allege the unjustified isolation of any Named Plaintiff.

In fact, according to the Complaint, every named Plaintiff who is a member of the putative

ADA Subclass is currently living                            . Finally, nothing in the ADA or

the Rehabilitation Act requires states to ensure sufficient providers in all areas of a state.

                             II.     BACKGROUND FACTS

A.     The Office of Children’s Services.

       Alaska’s Office of Children’s Services (OCS) is charged with the complex task of

ensuring the safety, permanency, and well-being of Alaska’s most vulnerable children. In

fulfilling its duties, OCS collaborates with Tribes, community partners, superior courts,

and other state divisions to better serve children and families.

       OCS also strives for transparency and accountability. As the Complaint notes,

several areas were identified as not meeting substantial conformity in the 2017 Child and

Family Services Review (CFSR). What Plaintiffs fail to credit are OCS’s extensive efforts

to address the CFSR findings.

       After every CFSR, states develop a Program Improvement Plan to address

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deficiencies. Had Plaintiffs contacted the State before filing their lawsuit, they would have

learned about OCS’s initiatives and Program Improvement Plan. For instance, the 2017

Assessment recognized workforce challenges. But shortly thereafter, House Bill 151 (the

“Children Deserve a Loving Home Act”) was signed into law. The act established average

caseload limits for OCS frontline workers and added training requirements for

caseworkers. Caseloads of new workers are now capped at six family cases, total, for the

first four months on the job. The act also provided additional staff positions to help OCS

reduce caseloads. And OCS now tracks vacancy and turnover rates quarterly and provides

annual reports to the Legislature. The act further requires the State to assist family members

and friends in applying for foster care licenses, and it provides for children of at least 14

years of age to be involved in their own case planning.

       In 2017, the State of Alaska and 18 Native Tribes and Tribal Organizations signed

the “Alaska Tribal Child Welfare Compact,” a one-of-a-kind landmark agreement

developed to ensure improved compliance with ICWA, reduce the rate of out of home

placement, and improve the well-being of Alaskan children and families.

       In 2019, the State established Emergency Relief Payments to help relatives with

upfront placement costs. Payments are provided for two months while the Department

assists relatives with the foster care licensing or referral to the Alaska Temporary

Assistance Program or Tribal Assistance for Native Families program. The State also

implemented a Program Improvement Plan, which included 65 strategies and a two-year

implementation timeframe. To date, the majority of the Plan has been completed and

approved by the Children’s Bureau, a federal agency focused on improving child welfare.

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       One of OCS’s highest priorities is to stabilize the workforce and reduce caseloads.

Alaska has actively confronted those issues through expansion of higher salaried case

carrying staff, development of safety and mentoring programs, and educational stipends.

OCS also successfully advocated for additional funds to address its staffing challenges.

B.     Overview of Abuse-and-Neglect Proceedings in Alaska.

       i.     Child in Need of Aid (CINA) Cases.

       In Alaska, the State’s intervention begins with a report of suspected child abuse or

neglect. Upon receipt of a report, the Alaska Department of Family and Community

Services, (Department) Office of Children’s Services (OCS), initiates an investigation of

the allegation (called an assessment).18 If OCS is able to substantiate the allegation of abuse

or neglect, it may then initiate a Child in Need of Aid (CINA) proceeding by filing a

Petition for Adjudication of a Child in Need of Aid and for Temporary Custody.19

       In the case of an emergency (when the child has been removed from the parent’s

home upon filing of the petition), superior courts are required to hold an initial hearing

within 48 hours.20 When the child remains in the home, the superior court is required to

hold the hearing within five business days following the filing of a petition.21

       During the initial hearing, the parents are advised of their rights, including the right

to have an attorney represent them; parents are granted a continuance if they wish to talk



18
       See AS 47.17.010 et seq.
19
       See AS 47.10.030.
20
       AS 47.10.142.
21
       CINA Rule 10 (effective October 1, 2022).

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with an attorney.22 But even if the court grants a continuance, the court must make a

preliminary determination as to whether continued placement with the parent is contrary

to the welfare of the child. If the court finds that placement with the parent is not contrary

to the welfare of the child, the child is returned to the custody of the parent pending the

temporary custody (or “adjudication”) hearing, where the court determines if there is

probable cause to believe the child could be a “child in need of aid” or “CINA.”23

       Absent good cause for delay, an adjudication hearing to determine whether the child

is a child in need of aid is required to be held within 120 days of a finding of probable

cause.24 If the court finds the child is a child in need of aid, it sets a dispositional hearing

for a time agreed to by all parties, generally around 60 days from the adjudication finding.25

       During the dispositional hearing, the superior court decides whether the child should

remain in OCS custody or be returned to the custody of the parent(s), and it reviews the

child’s case plans and services, considering the best interests of the child, the ability of the

state to take custody and care for the child to protect the child’s best interests under AS

47.10.005-47.10.142, and the potential harm to the child caused by the removal of the child

from the home and family environment.26 The superior court may also consider mandatory

reports filed by the child or the children’s guardian ad litem and OCS.27


22
       AS 47.10.142; CINA Rule 12.
23
       AS 47.10.142(d), (e).
24
       AS 47.10.080.
25
       AS 47.10.08(c); CINA Rule 17.
26
       AS 47.10.082; CINA Rule 17.
27
       AS 47.10.081.

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       In the dispositional hearing, the court reviews the child’s placement to determine if

it is consistent with state and federal placement preferences, including ICWA.28

       After the court enters the dispositional order, it periodically reviews the case to

ensure that the child’s case plan, services, and placement continue to serve the child's best

interests at a permanency hearing.29 The court takes into account a host of considerations,

including whether and when the child should be returned to the parent and if not, what

other permanency goal is appropriate; whether the department has made reasonable efforts

– or in the case of an ICWA case, active efforts – to offer services to reunify the family

and facilitate the permanency goal; whether the parent has made substantial progress to

remedy the issues that caused the child to be a child in need of aid; and if the permanent

plan is out of home care, whether the placement is necessary and appropriate. The State’s

compliance with State and ICWA placement preferences is also reviewed.30 In practice,

courts hold far more frequent status hearings, often every 3-6 months.

       CINA cases remain open until the child is safely reunified with the family or another

permanent living arrangement has been made. If reunification is not a viable option, the

State may initiate a termination of parental rights (TPR) proceeding; parental rights are not

terminated at the initial removal hearing.31

       In a CINA case, Alaska law entitles the child’s parents to counsel as a matter of



28
       AS 47.4.100; 25 U.S.C. § 1915 (ICWA); CINA Rule 10, 10.1.
29
       AS 47.10.080(l); CINA Rule 19.
30
       CINA Rule 10, 10.1.
31
       See, e.g., AS 47.10.088.

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right.32 As of October 2022, the child also has a right to court appointed counsel in a number

of situations, including when the child does not consent to placement in a secure residential

treatment center, when the child does not agree to the administration of psychotropic

medications, or when the child would benefit from having a confidential relationship with

an attorney.33 In addition, all children are represented by a Guardian ad Litem (GAL), a

Court Appointed Special Advocate (CASA), or both.34 Indeed, one of the first things

superior courts do upon the filing of a CINA petition is to appoint a guardian ad litem “as

soon as possible after the CINA petition is filed.”35

       Placement in a secure residential treatment facility requires the State to prove by

clear and convincing evidence that (1) the child is gravely disabled or suffering from a

mental illness and as a result, is likely to harm themselves or others, (2) that there is no

reasonably less restrictive alternative for the child’s treatment or that less restrictive

alternatives have been tried and failed, and (3) that there is reason to believe that the child’s

mental condition would be improved by the course of treatment or would deteriorate if left

untreated. The court’s findings are reviewed every 90 days.36

       Placement review hearings, where parties or adult family members or family friends

challenge the state’s placement decision are frequent and governed by AS 47.14.100, 25




32
       AS 47.10.050; CINA Rule 12.
33
       CINA Rule 12, 12.1.
34
       CINA Rule 11.
35
       CINA Rule 12.
36
       AS 47.10.087(a) and (b).

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U.S.C. § 1915 (ICWA), CINA Rule 10.1 and CINA Rule 19.1(b).

       ii.    The Role of Alaska Superior Courts in CINA Cases.

       Alaska superior courts are courts of general jurisdiction; they are able to hear federal

claims and award injunctive relief.37 They also preside over CINA cases. In fact, CINA

cases comprise nearly 12% of all cases filed in superior court, trailing only probate and

domestic relations on superior courts’ civil dockets.38 “CINA cases are often handled by a

single judge, and by the time of termination, that judge is intimately familiar with the

history of the case and has typically presided over many hearings.”39

       CINA cases are governed by a comprehensive statutory scheme – AS 47.10.005 et

seq.40 Alaska Statutes govern the proceedings from beginning41 to end.42 CINA cases also

have their own rules of procedure, the “Child in Need of Aid Rules of Procedure.”43 As the

Alaska Supreme Court has recognized, “[superior court] Judges are well situated to make

reliable findings in CINA cases, given their knowledge of and familiarity with the


37
        AS 22.10.020(a), (c).
38
        http://www.courts.alaska.gov/admin/docs/fy20-statistics.pdf, at p. 35 (last visited
August 3, 2022).
39
        Carla W. v. State, Dep't of Health & Soc. Servs., Off. of Children’s Servs., No. S-
12991, 2008 WL 5352295, at *8 (Alaska Dec. 24, 2008).
40
        See AS 47.10.005 (“The provisions of this chapter shall be liberally construed to
achieve the end that a child…may receive the care, guidance, treatment, and control that
will promote the child’s welfare and the parent’s participation in the upbringing of the child
to the fullest extent consistent with the child’s best interests.”).
41
        AS 47.10.020 (“Investigation and Petition”).
42
        Id. at 47.10.111 (“Petition for Adoption or Guardianship of a Child in State
Custody”).
43
        See, e.g., CINA Rule 1(b) (“These rules govern practice and procedure in trial courts
in all phases of child in need of aid proceedings brought under AS 47.10.010(a).”).

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controlling law and the prior proceedings of the case.”44

       iii.   Alaska Law Provides a Forum and Means for Parties to Hold OCS
              Accountable.

       Consistent with Alaska’s statutory goal of promoting child welfare,45 CINA cases

incorporate substantial protections for parents, children, and other third parties.46 And to

implement those protections, Alaska law liberally allows interested parties – e.g., parents,

foster parents, relatives, family friends, Indian tribes, and children – to participate in the

case, and when appropriate, hold OCS accountable in superior court.

       For example, placement of a child is addressed in CINA Rule 19.1(b), which allows

any party opposed to the transfer to seek relief from the court:

       At any time in the proceeding, a party who is opposed to the Department
       transferring a child from one placement to another may move the court for a
       review hearing at which the requesting party must prove by clear and
       convincing evidence that the transfer would be contrary to the best interests
       of the child. In the case of an Indian child, the court must consider the
       placement preferences as set forth in 19 U.S.C. § 1915.47

       The rule also addresses instances when placement with an adult family member or

friend is denied. In that scenario, the rule expressly allows the family member or friend to

participate in a hearing concerning the denial of the placement.48


44
       Alyssa B. v. State, Dep't of Health & Soc. Servs., Div. of Fam. & Youth Servs., 165
P.3d 605, 613 (Alaska 2007).
45
       AS 47.10.005(1).
46
       See, e.g., Karen L. v. State, Dep’t of Health & Soc. Servs., Div. of Fam & Youth
Servs., 953 P.2d 871, 877 (Alaska 1998) (declining to impose liability on social workers
and noting: “…CINA proceedings already incorporate substantial protections for parents
and children.”).
47
       CINA Rule 19.1(b).
48
       Id. at 19.1(e).

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       Alaska’s CINA rules further allow parties to litigate visitation issues:

       At any time in a proceeding, a parent or guardian who has been denied
       visitation, or the child’s guardian ad litem, may move the court for a review
       hearing at which the Department must show by clear and convincing
       evidence that visits are not in the child’s best interest.49

       But the superior court’s role isn’t limited to placement and visitation. For situations

not expressly covered by other subparts, Rule 19.1(d) contains a catch-all provision that

allows any interested party to bring matters concerning the child’s welfare to the superior

court’s attention at any time: “At any time in a proceeding, the court may review matters

not otherwise covered by these rules upon motion of a party or on its own motion.”50

                            II.    STANDARD OF REVIEW

A.     Motion to Dismiss a Putative Class Action.

       Rule 12’s pleading requirements apply with equal force to putative class actions –

the plaintiff’s pleading requirements are not diminished by bringing claims on behalf of a

putative class or making class-wide allegations.51

       Moreover, “[o]n a motion to dismiss a putative class action complaint, courts may

only consider the allegations of the named plaintiffs, and not the generalized allegations of




49
       Id. at 19.1(a).
50
       Id. at 19.1(d).
51
       See, e.g., Kamath v. Robert Bosch LLC, 2014 WL 2916570, 13-08540, 2014 WL
29146570, at *8, n. 4 (C.D. Cal. June 26, 2014) (“The Court does not consider allegations
pertaining to putative class members. This is so because, at the motion to dismiss stage, the
Court only considers allegations pertaining to the named plaintiff because a putative class
action cannot proceed unless the named plaintiff can state a claim for relief himself.”).

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unnamed plaintiffs or putative class members.”52 Accordingly, each Named Plaintiff must

satisfy Rule 12; generalized allegations related to unnamed class members are irrelevant.

B.     Motion to Dismiss for Lack of Subject Matter Jurisdiction.

       Federal courts are courts of limited jurisdiction, and the confines of federal

jurisdiction should not be disregarded or evaded.53 Courts evaluate subject matter

jurisdiction under Rule 12(b)(1),54 and “[t]he plaintiff has the burden of [pleading and]

proving that jurisdiction exists.”55 While the court must take the well-pleaded factual

allegations as true, the court “is presumed to lack jurisdiction in a particular case unless the

contrary affirmatively appears.”56

       In a putative class action, the court should consider whether each named plaintiff

has standing; if none of the named plaintiffs have standing, then the case must be dismissed,




52
        Tatum v. Chrysler Grp. LLC, No. 10- 4269, 2012 WL 6026868, at *4 (D.N.J. Dec.
3, 2012) (emphasis added); Accord v. Anderson Co., No. 21-00077, 2021 WL 6135691, at
*3 (M.D. Tenn. Dec. 28, 2021) (“The necessity of Plaintiff alleging his own standing is not
somehow diminished by his bringing this action on behalf of a putative class.”) (emphasis
in original); Pinzon v. Pepperdine Univ., No. 20-4928, 2021 WL 3560782, at *2 (C.D. Cal.
Aug. 5, 2021) (“At the motion to dismiss stage, what matters is the allegations relevant to
the named Plaintiffs, not the scope of an uncertified putative class.”).
53
        Owen Equipment & Erection Co. v. Kroger, 437 U.S. 365, 374 (1978). “When faced
with a challenge to its subject matter jurisdiction under Rule 12(b)(1), the court must
resolve that issue before determining whether the complaint states a claim under Rule
12(b)(6).” Laborers' Int'l Union of N. Am., Loc. 341 v. Main Bldg. Maint., Inc., 435 F.
Supp. 3d 995, 999 (D. Alaska 2020).
54
        Hodges v. Seward Ship's Ace Hardware & Marine, No. 3:19-CV-00059-JMK, 2020
WL 10319253, at *1 (D. Alaska Nov. 18, 2020).
55
        Id.
56
        Id.

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regardless of the allegations related to unnamed class members.57

                      IV.    ARGUMENT AND AUTHORITIES.

A.     The Court Should Abstain From Exercising Jurisdiction Over Plaintiffs’
       Claims.

       Abstention doctrines are rooted in principles of comity and federalism, and they

reflect “a strong federal policy against federal-court interference with state court judicial

proceedings, absent extraordinary circumstances.”58

       Here, the Named Plaintiffs would have the Court override or second-guess decisions

made in their individual state court CINA proceedings, and much worse, dictate future

decisions in their cases and others. But as the Alaska Supreme Court has explained, CINA

proceedings are “the proper forum for addressing complaints about foster care placement

and treatment.”59 As set forth below, the exercise of federal jurisdiction would directly

interfere with ongoing CINA proceedings; thus, abstention is appropriate under the

Younger doctrine, the Rooker-Feldman doctrine, and other abstention principles.

       i.     The Younger Doctrine Requires the Court to Abstain.

       In a line of cases beginning with Younger v. Harris60 and extending through Moore




57
        Accord, 2021 WL 6135691, at * 3-4.
58
        Middlesex Cty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 431 (1982);
see also Herrera v. City of Palmdale, 918 F.3d 1037, 1043 (9th Cir. 2019) (explaining that
abstention stems from “the constraints of equity jurisdiction and the concerns for comity
in our federal system’”) (quoting Gilbertson v. Albright, 381 F.3d 965, 970 (9th Cir. 2004)).
59
        Karen L. v. DHHS, 953 P.3d 871, 878 (Alaska 1998).
60
        401 U.S. 37 (1971).

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v. Sims (Moore),61 NOPSI v. Council of City of New Orleans (NOPSI),62 Sprint Commc’ns,

Inc. v. Jacobs (Sprint),63 and Middlesex Cty. Ethics Comm. v. Garden State Bar Ass’n

(Middlesex),64 the Supreme Court has instructed federal courts to abstain from exercising

jurisdiction over certain federal actions that would interfere with ongoing state court

proceedings.

       The Younger analysis is a two-step process. First, the court should determine

whether the ongoing state court lawsuit is the type of case to which Younger abstention

applies.65 If it is, then abstention is required when the case satisfies the three factors set

forth in Middlesex:

       (1)     the state court proceeding implicates important state interests;

       (2)     the state proceeding provides an “adequate opportunity” for the federal
               plaintiff to raise the issues raised in the federal action, and

       (3)     the federal action would interfere with the ongoing state proceeding.66

       As several courts of appeals have concluded, Younger precludes federal courts from

hearing cases, like this one, in which plaintiffs seek systemic injunctive relief that would




61
      442 U.S. 415 (1979).
62
      491 U.S. 350 (1989).
63
      571 U.S. 69 (2013).
64
      457 U.S. 423 (1982).
65
      See, e.g., Sprint Comm’n, 571 U.S. at 79-80; Citizens for Free Speech, LLC v. Cnty.
of Alameda, 953 F.3d 655, 657 (9th Cir. 2020).
66
      Middlesex, 457 U.S. at 432; see also Citizens for Free Speech, 953 F.3d at 657-58.

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interfere with ongoing state abuse-and-neglect proceedings.67

              a.     Step 1: Younger Applies to State Abuse-and-Neglect Cases, and
                     here, each Named Plaintiff is a Party to a State Court Abuse-and-
                     Neglect Proceeding.

       In NOPSI and Sprint, the Supreme Court recognized three categories of

“exceptional” cases in which federal court abstention based on ongoing state proceedings

is appropriate: (1) state criminal prosecutions; (2) state “civil enforcement proceedings;”

and (3) “civil proceedings involving certain orders…uniquely in furtherance of the state

courts’ ability to perform their judicial functions.”

       The Court has explained that “civil enforcement proceedings” involve cases in

which “a state actor is routinely a party to the state proceeding and often initiates the

action.”68 As an example of a civil enforcement proceeding to which Younger applies, the

Supreme Court cited, in both NOPSI and Sprint, its previous holding in Moore v. Sims.69

       In Moore, three children and two parents who were parties to an ongoing state court

abuse-and-neglect proceeding brought a “broad constitutional challenge” to a state statute

governing child welfare procedures.70 The Court held that the district court should have

abstained under Younger because the state was a party to the state court abuse-and-neglect

proceeding, and that proceeding involved the removal of a child “in aid of and closely



67
       See Ashley W. v. Holcomb, 34 F.4th 588, 591 (7th Cir. 2022); Oglala Sioux Tribe v.
Fleming, 904 F.3d 603, 610 (8th Cir. 2018); 31 Foster Children v. Bush, 329 F.3d 1255
(11th Cir. 2003); Joseph A. ex rel. Wolfe v. Ingram, 275 F.3d 1253, 1272 (10th Cir. 2002).
68
       Sprint, 571 U.S. at 592.
69
       See id. at 579; NOPSI, 491 U.S. at 368.
70
       442 U.S. at 415.

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related to criminal statutes” relating to child abuse.71

       Since the Court’s 2013 holding in Sprint, the majority of circuit courts that have

considered the issue (including the Seventh Circuit in its May 2022 opinion in Ashley W.)

have followed Moore and held that state abuse-and-neglect proceedings are the type of

proceedings to which Younger applies.72

       The post-Sprint majority view is consistent with two pre-Sprint circuit court

decisions – issued after NOPSI first articulated the three categories of cases to which

Younger applies – holding that federal courts should abstain under Younger from hearing


71
        Id. at 423 (internal quotation marks omitted).
72
        See Ashley W., 34 F.4th at 591 (holding that Supreme Court concluded in Moore
that “state-initiated child-welfare litigation” is the type of state civil proceedings to which
Younger applies); Oglala Sioux Tribe, 904 F.3d at 610 (relying on Moore and holding that
state abuse-and-neglect proceedings are “civil enforcement” proceedings); Vaughn:Douce
v. N.J. Div. of Child Protection and Permanency, No. 21-1596, 2021 WL 3403670 (3d Cir.
Aug. 4, 2021) (unpublished); see also A.A. v. Buckner, No. 21-cv-367, 2021 WL 5042466,
at *5- *6 (M.D. Ala. Oct. 29, 2021) (unpublished) (same). Only one circuit has held abuse-
and-neglect proceedings are not “civil enforcement” proceedings; that case was wrongly
decided and is distinguishable. See Jonathan R. v. Justice, No. 21-1868, 2022 WL
2821968, *8 (4th Cir. July 20, 2022). First, the court misinterpreted Moore as applying
only to initial removal proceedings, but not ongoing hearings in the same case. Nothing in
Moore hints at such a distinction. Second, the court drew a line between the plaintiff-
children in its case and “the abusive parents in Moore.” But neither Moore nor Sprint held
that culpability is relevant to whether Younger applies. The court also ignored that the
federal plaintiffs in Moore included the abused children.72 Third, the decision is
inconsistent with the principles underlying Younger because it allows a child to run to
federal court to enjoin potentially adverse state court rulings. Finally, in CINA cases, there
is no distinction between “initial child-removal proceedings” and “ongoing individual
hearings…that serve to protect the children.” All CINA hearings are part of the same
proceeding driven by the goal of “protect[ing] the children.” See Alyssa B., 165 P.3d at 612
(Alaska 2007) (explaining that a termination proceeding is a “procedural continuation of
the earlier proceedings in the existing CINA case;” it does not initiate a new proceeding)
(emphasis added); OCS v. Michelle P., 411 P.3d 576, 584 (Alaska 2018) (“[T]he court is
required in all CINA proceedings to consider and act in the child’s best interests.”).

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putative class claims brought by foster children against state agencies that would interfere

with ongoing state abuse-and-neglect cases.73 In total, five circuits – the Third

(Vaughn:Douce), Seventh (Ashley W.), Eighth (Oglala Sioux Tribe), Tenth (Joseph A. ex

rel. Wolfe), and Eleventh (31 Foster Children) – have held Younger applies to state abuse-

and-neglect proceedings.74

       Here, like the proceedings in Moore, and like the state proceedings in the three post-

Sprint circuit court cases in which courts found abstention was appropriate.75 CINA

proceedings arise from an abuse or neglect investigation initiated by the state.76 All CINA

proceedings are likewise “in aid of and closely related to criminal statutes”77 pertaining to




73
        See, e.g., 31 Foster Children v. Bush, 329 F.3d 1255 (11th Cir. 2003), Joseph A. ex
rel. Wolfe v. Ingram, 275 F.3d 1253, 1272 (10th Cir. 2002); see also Zimmerman v.
Gregoire, No. 99-1367, 18 Fed. App’x 599, 601 (9th Cir. Sept. 4, 2001) (unpublished);
J.B. v. Valdez, 186 F.3d 1280, 1291 (10th Cir. 1999); Sam M. v. Chafee, 800 F. Supp. 2d
263 (D.R.I. 2011); Carson P. v. Heineman, 240 F.R.D. 456, 511-12 (D. Neb. 2007); Laurie
Q. v. Contra Costa Cnty., 304 F. Supp. 2d 1185, 1204 (N.D. Cal. 2004).
74
        See supra notes 72, 73. District courts are more divided on the question of whether
Younger applies to these types of cases. Compare, e.g., A.A. v. Buckner, 21-367, 2021 WL
5042466, at *5- *6 (M.D. Ala. Oct. 29, 2021); Sam M. v. Chafee, 800 F. Supp. 2d 263
(D.R.I. 2011), Carson P. v. Heineman, 240 F.R.D. 456, 511-12 (D. Neb. 2007), and Laurie
Q. v. Contra Costa Cnty., 304 F. Supp. 2d 1185, 1204 (N.D. Cal. 2004), with, e.g., Connor
B. ex rel. Vigurs v. Patrick, 771 F. Supp. 2d 142 (D. Mass. 2011); Kenny A. ex rel. Winn v.
Perdue, 218 F.R.D. 277, 288 (2003). However, most of those decisions were not appealed
(sometimes because the cases settled), and when the question has been appealed, federal
circuit courts have nearly universally held that Younger applies to ongoing state abuse-and-
neglect proceedings (with one exception, discussed in footnote 72, supra)
75
        Ashley W., 34 F.4th at 591; Oglala Sioux Tribe, 904 F.3d at 610; Vaughn:Douce,
2021 WL 3403670.
76
        See AS 47.10.020, CINA Rule 6(a); CINA Rule 7.
77
        Moore, 442 U.S. 423.

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the abuse and neglect of children.78 Accordingly, CINA proceedings are civil enforcement

proceedings to which Younger applies.

       Even if CINA cases were not “civil enforcement proceedings” (which they are),

they would fall into another category of state cases to which Younger abstention applies:

“civil proceedings involving certain orders uniquely in furtherance of the state courts’

ability to perform their judicial functions.”79 As explained in Part II.b, superior courts often

issue orders about placement, services and other issues, which they then oversee through

regularly held status hearings and other proceedings.80

              b.      Step 2: Alaska CINA Cases Satisfy the Three Middlesex Factors.

                      1.     Alaska’s CINA Proceedings Implicate Important State
                             Interests.

       There can be no dispute that Alaska’s CINA proceedings implicate the State’s

historical and compelling interest in ensuring the safety of, and proper care, for children

placed in its custody.81




78
        See AS 11.51.100 (endangering the welfare of a child in the first degree);
AS 11.51.110 (endangering the welfare of a child in the second degree); AS 11.51.120
(criminal nonsupport).
79
        See Sprint, 571 U.S. at 79-80.
80
        Cf. Juidice v. Vail, 430 U.S. 327, 335-36 (1977) (holding that Younger applies to
civil proceedings involving a state court’s contempt power).
81
        See, e.g., Santosky v. Kramer, 455 U.S. 745, 766 (1982) (“State has an urgent
interest in the welfare of the child…the State’s goal is to provide the child with a permanent
home.”); Moore, 442 U.S. at 435 (“Family relations are a traditional area of state
concern.”).

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                     2.     Alaska’s CINA Proceedings Provide an Adequate
                            Opportunity for Plaintiffs to Raise the Issues Raised in this
                            Federal Action.

       A plaintiff opposing abstention bears the burden to show the state court proceedings

do not offer an “adequate opportunity” to raise the issues raised in the federal action,82 and

if the plaintiff “has not attempted to present his federal claims in related state-court

proceedings, a federal court should assume that state procedures will afford an adequate

remedy, in the absence of unambiguous authority to the contrary.”83 Further, “the relevant

question is not whether the state courts can do all that Plaintiffs wish they could,” but

rather, whether the remedies available through the state proceedings are “adequate.”84

Courts have generally concluded that state abuse-and-neglect proceedings satisfy this

requirement for Younger abstention.85

       Here, Plaintiffs’ Complaint does not allege they “attempted to present [their] federal


82
        Moore, 442 U.S. at 425-26.
83
        Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15 (1987); see also Middlesex, 457 U.S. at
424 (“Where vital state interests are involved, a federal court should abstain unless state
law clearly bars the interposition of the [federal or] constitutional claims.”).
84
        31 Foster Children, 329 F.3d at 1279 (internal quotation marks omitted).
85
        See, e.g., Moore, 442 U.S. at 430-31; Ashley W., 34 F.4th at 593; 31 Foster Children,
329 F.3d at 1279-82; Joseph A., 275 F.3d at 1274; J.B., 186 F.3d at 1292-93; Laurie Q.,
304 F. Supp. 2d at 1206-08. But see Jonathan R., 2022 WL 2821968, at *12-16 (dicta);
LaShawn A., 990 F.2d 1319. The analysis may vary depending on the unique features of
the state’s court system, and several federal courts have held that a state abuse-and-neglect
proceeding does not provide an adequate opportunity to litigate the issues raised in the
federal action when the state court lacks the power to overrule a decision of the state child
welfare agency (which is not a concern here). See, e.g., Connor B. ex rel. Vigurs v. Patrick,
771 F. Supp. 2d 142, 155-56 (D. Mass. 2011) (unlike in Alaska, state court lacked authority
to enter a placement order based on “a child’s best interests”); Kenny A. ex rel. Winn v.
Perdue, 218 F.R.D. 277, 288 (2003) (unlike in Alaska, state court orders about a child’s
placement “are merely exhortatory and not binding on” the state agency).

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claims in related state-court proceedings,” and Plaintiffs cannot point to any “unambiguous

authority” that they are unable to do so. Nor could they. In CINA cases, superior courts

have the authority to make decisions about placements and services that bind OCS (see

Section II(A) supra), and superior courts are courts of general jurisdiction able to hear

federal claims and issue injunctive relief.86 Indeed, superior courts routinely address

complex issues of federal law in CINA proceedings.87

       Further, decisions in CINA proceedings are appealable to the Alaska Supreme

Court, which regularly reviews those decisions with respect to both state and federal law.88



86
        See AS 22.10.020(a) (“The superior court is the trial court of general jurisdiction,
with original jurisdiction in all civil and criminal matters, including probate and
guardianship of minors and incompetents.”); AS 22.10.020(c) (“The superior court and its
judges may issue injunctions, writs of review, mandamus, prohibition, habeas corpus, and
all other writs necessary or proper to the complete exercise of its jurisdiction.”); AS
47.10.080(l)(6) (“[I]f the court finds . . . that the department is not making reasonable
efforts to find a permanent placement for the child, the court shall order the department to
make reasonable efforts to find a permanent placement for the child unless the current
placement is in the best interests of the child”); CINA Rule 17.2(g) (“The court may make
appropriate orders to ensure timely implementation of the permanency plan.”); CINA Rule
10.1(a)(2), (b)(2) (providing that court may order the Department to comply with
obligation to exercise active or reasonable efforts and may impose appropriate sanctions if
the Department fails to do so); CINA R. 17.2(e)(5) (“in the case of a child who has attained
age 16,” the court must make findings about “the services needed to assist the child to make
the transition from foster care to independent living or adult protective services”).
87
        See, e.g., Cora C. v. State, No. S-16798, 2018 WL 2979472 (Alaska. June 13, 2018)
(unpublished) (reviewing whether the superior court complied with ICWA); Danielle A. v
State, DHHS, OCS, 215 P.3d 349, 356 (Alaska 2009) (same).
88
        Cf. Clevenger v. Dresser, No. 17-17136, 746 Fed. App’x 645, 646 (9th Cir. 2018)
(unpublished) (explaining that the Ninth Circuit has held California attorney disciplinary
proceedings provide an adequate forum to litigate federal issues “because the litigant can
seek review by the California Supreme Court” (citing Canatella v. California, 404 F.3d
1106, 1111 (9th Cir. 2005); Hirsh v. Justices of Sup. Ct. of Cal., 67 F.3d 708, 713 (9th Cir.
1995))); see also, e.g., Cora C., supra.

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       Finally, CINA proceedings include numerous protections that ensure children have

an adequate opportunity to be heard. For example, all children are represented by a

qualified guardian ad litem to “represent and advocate for the best interests of the child in

light of federal and state law,”89 and the superior court must appoint counsel for a child if

“the interests of justice require the appointment of an attorney.”90 Moreover, effective

October 17, 2022, appointment of counsel for a child will become mandatory for any child

age 10 or older in one of six delineated circumstances, including when “[t]he child does

not consent to placement in a psychiatric hospital or residential treatment center.”91

                     3.     The Relief Plaintiffs Seek Would Interfere with Ongoing
                            CINA Proceedings.

       As the Ninth Circuit has explained, if “the federal action would effectively enjoin

the state proceedings,” the federal court should abstain under Younger.92

       Here, the vast majority of the relief that Plaintiffs seek would limit superior courts’

authority to make the fact-intensive decisions they make every day in CINA cases.

Accordingly, the relief Plaintiffs request would effectively enjoin superior courts from



89
        CINA Rule 11.
90
        CINA Rule 12(b)(3) (repealed eff. Oct. 17, 2022); see also Ex. A (
                    ).
91
        CINA Rule 12.1 (eff. Oct. 17, 2022). That children in CINA cases are not
automatically entitled to counsel does not mean they lack an adequate opportunity to raise
the issues presented here. The Constitution does not entitle every child to counsel in abuse-
and-neglect proceedings. See Ashley W., 34 F.4th at 593. As the Seventh Circuit explained,
“the absence of automatic counsel at public expense for every child in a proceeding does
not permit a federal court to deem all [such] proceedings defective and bypass the state
judiciary.” See id.
92
        See Citizens for Free Speech, 953 F.3d at 657.

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issuing orders or providing any relief inconsistent with the requested injunction.93

       For example, Plaintiffs seek an injunction requiring that: (1) all foster children be

placed “in placements that are safe, appropriate, and in the least restrictive environment

that best suits their individual needs;” (2) members of the putative Alaska Native Subclass

be placed “with ICWA-compliant caregivers;” (3) no foster child be placed “in a

congregate care setting based on the unavailability of foster home resources;” and (4) all

foster children with disabilities be placed in “family foster homes with supportive services”

“in as many instances as is required by reasonable professional standards.”94

       But if awarded, that relief would effectively enjoin superior courts from making

their own case-by-case placement decisions based on the specific facts of each case, a task

they are uniquely qualified to perform.95 It would also subject superior court decisions to

periodic and ongoing review for compliance with the Court’s injunction.96

       Moreover, Alaska law provides a foster child may only be placed in certain

residential facilities pursuant to a superior court order,97 and all other placement decisions

may be challenged by any party – including the child – “[a]t any time.”98 Thus, superior

courts routinely assess whether a child’s placement is appropriate and in the child’s best


93
       The relief seeking generalized changes to OCS practice would violate Federal Rule
of Civil Procedure 65 and/or would not remedy the alleged harms suffered by the Named
Plaintiffs; thus, they lack standing to pursue such relief. See Parts IV.B, D, infra.
94
       Compl. at 86-88.
95
       Alyssa B., 165 P.3d at 613.
96
       See Part IV.A.ii.a, infra (discussing O’Shea abstention).
97
       See AS § 47.10.087; Cora G. v. DHHS, 461 P.3d 1265, 1279 n.34 (Alaska 2020).
98
       CINA Rule 19.1(b), (d).

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interests.99 That exercise necessitates an intensive review of each child’s individual

circumstances and a complex balancing of interests.

       On the other hand, the relief Plaintiffs request – a one-size-fits-all solution that

uniformly favors one type of placement over another – would strip superior courts of their

authority to conduct those fact intensive reviews. For example, in DHHS v. Zander B., the

superior court found OCS’s decision to move a child from his foster family to his

grandmother was an abuse of discretion because the child had “‘significant mental, social,

and physical needs,’” and the grandmother “had ‘neither the understanding of [the child’s]

conditions nor the capacity to beneficially address them.”100 Thus, the superior court




99
        See also, e.g., Celia W. v. DHHS, OCS, No. S-17954, 2021 WL 4191436 (Alaska
Sept. 15, 2021) (affirming superior court’s decision, made after a five-day placement
review hearing, that OCS did not err in placing a child with foster family instead of his
grandparents); Dylan J. v. State, No. S-14641, 2012 WL 4840768 (Alaska October 10,
2012) (affirming superior court’s decision that OCS appropriately denied placement of
children with their maternal great-grandparents); In re J.D.S., No. S-10383, 2002 WL
1183536 (Alaska May 29, 2002) (holding the foster child’s guardian ad litem “was entitled
to challenge the placement [with a particular foster family] under the provisions of CINA
Rule 19.1(b),” and that the superior court erred in denying the guardian ad litem a hearing
on that challenge); S.S.M. v. State, 3 P.3d 342 (Alaska 2000) (holding that sister of a foster
child was a party able to object to placement; holding that a “placement decision is
ultimately a matter for superior court review”; vacating decision of superior court denying
motion to overturn OCS’s placement decision); Brynna B. v. State, DHHS, DFYS, 88 P.3d
527 (Alaska 2004) (holding that superior court properly upheld decision to refuse to place
foster child with her aunt, because the aunt had proved unwilling to work with the State on
implementing the case plan); Irma E. v. State, 312 P.3d 850 (Alaska 2013) (holding
superior court erred in not granting grandmother a hearing to review OCS’s decision to
deny her request to place foster children with her because AS 47.14.100(m) “provides that
when OCS ‘denies a request for placement with an adult family member or a family friend,
the department shall inform the adult family member or family friend of the basis for the
denial and the right to request a hearing to review the decision’”).
100
       474 P.3d at 1162.

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ordered the child remain with his foster parents, and the Alaska Supreme Court affirmed.101

       Plaintiffs’ requested relief that members of the putative Alaska Native Subclass be

placed “with ICWA-compliant caregivers” would similarly strip superior courts of their

authority. Both federal and state law provide preferences for the placement of Indian

children.102 That issue is routinely litigated in CINA proceedings and appealed to the

Alaska Supreme Court.103 Nevertheless, Plaintiffs plead for an across-the-board injunction

that would effectively enjoin state courts from departing from ICWA preferences for good

cause based on the facts of each child’s case.

       Alaska case law again provides a good example of how Plaintiffs’ requested relief

would effectively enjoin superior courts. In Cora C. v. State the Alaska Supreme Court

reviewed the placement of a child with kidney failure with a non-native foster family that

did not meet the ICWA placement preferences.104 The court affirmed the placement,

finding there was good cause to deviate from the ICWA placement preferences and that it

was in the child’s best interest to remain with her foster family because the foster family

lived in Anchorage, where the State’s only pediatric nephrologist practiced.105

       Further, several of the Named Plaintiffs’ own                   – which they now

challenge as being inconsistent with the Constitution and/or federal law – were



101
      See id.
102
      See 25 U.S.C. § 1915(g); CINA Rule 10.1(b)(1)(A).
103
      See, e.g., Cora C. v. State, No. S-16798, 2018 WL 2979472 (Alaska June 13, 2018)
(unpublished); Danielle A. v State, DHHS, OCS, 215 P.3d 349, 356 (Alaska 2009).
104
      2018 WL 2979472 (Alaska June 13, 2018).
105
      Id. at 4-5.

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                      4.     Neither the Ninth Circuit’s Decision in L.H. v. Jamieson,
                             nor any of the Exceptions to Younger Apply in This Case.

       Over 40 years ago, in L.H. v. Jamieson, the Ninth Circuit found Younger abstention

was not warranted in an action brought by foster children in Arizona because the case did

not meet what the court viewed as the “two principal characteristics” for Younger

abstention: (1) plaintiffs seeking “to enjoin the continuation of a state proceeding or sought

to enjoin state officials from enforcing a state statute”; and (2) “the basis for federal relief

could have been raised as a complete or partial defense to a pending or ongoing state

enforcement action during the normal course of the state proceeding.”115 L.H. does not

preclude abstention in this case for two reasons.

       First, the case is no longer good law. Since L.H. was decided, the Supreme Court

has clarified the Younger doctrine three times (in Middlesex, NOPSI and Sprint). As a

result, the Ninth Circuit now applies a more relaxed test – it no longer requires that the

plaintiff in the federal action actually “seek to enjoin the continuation of a state

proceeding.” Instead, if the relief would “effectively enjoin” a state proceeding,116 as

Plaintiffs are seeking to do here, then Younger applies. That alone makes L.H. irrelevant.

Indeed, the Ninth Circuit has cited L.H. in only one published decision since NOPSI was

decided in 1989, and it has not relied on or even cited L.H. in any abstention decisions




systemic reform because “[w]ere this court to assume the role plaintiffs intend, it would be
forced to pass judgment upon the Juvenile Court’s approval (or disapproval) of certain case
plans”). But see Jonathan R., 2022 WL 2821968, at *11-12 (dicta).
115
       643 F.2d 1351, 1352-53 (9th Cir. 1981).
116
       See, e.g., Citizens for Free Speech, 953 F.3d at 657-58.

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since Sprint was decided in 2013.

       Second, L.H. is distinguishable. There, the plaintiffs sought only to “require the state

to reimburse private child-caring agencies for their full cost of care,” which would not

“have the wholly disruptive consequences associated with enjoining a state judicial

proceeding.”117 Accordingly, the plaintiffs’ “claim [was] not of a sort that would be

presented during the normal course of a state proceeding.”118 The state court “[had]

completed its work once it [] made its initial placement decision” and therefore “a juvenile

wishing to invoke the [state] court’s jurisdiction [had to] act functionally as a plaintiff to

revive the state court's active jurisdiction.”119

       Here, in contrast, Plaintiffs seek relief (e.g., changes in placements and services)

that is precisely the type of relief ordered in CINA cases.120 Thus, Plaintiffs’ claims are

unquestionably “of a sort that would be presented during the normal course of” a CINA

proceeding.121 Further, superior courts retain jurisdiction and oversee CINA cases for the

entirety of the child’s time in state custody;122 thus, a child wishing to raise a complaint

can simply file a motion under CINA Rule 19.1(d). Unlike in L.H., a child in Alaska would

not need to “act functionally as a plaintiff to revive the state court's active jurisdiction.”



117
      L.H., 643 F.2d at 1354-55
118
      Id. at 1354.
119
      Id. at 1354-55.
120
      See, e.g., Part II.B, supra.
121
      See L.H., 643 F.2d at 1354.
122
      See, e.g., AS 47.10.100; In re J.D.S., Nos. S-10383, 1080, 2002 WL 1183536
(Alaska May 29, 2002).

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       Finally, the Complaint does not suggest that any of the narrow exceptions to

Younger – “such as a bad faith, harassment, or flagrant violation of express constitutional

prohibitions by the state or local actor” – apply here.123

       ii.    Abstention is Also Appropriate Under Principles Corollary to the
              Younger Doctrine.

       Even if the case did not meet the specific requirements for Younger abstention

(which it does), abstention is still appropriate under corollary abstention principles.

              a.     O’Shea Abstention.

       Under O’Shea v. Littleton, federal courts should abstain from hearing any claim –

regardless of whether the specific requirements for Younger are satisfied – when the

plaintiff seeks “an injunction aimed at controlling or preventing the occurrence of specific

events that might take place in the course of” ongoing or future state court proceedings,

such that the relief the plaintiff seeks is effectively an “ongoing federal audit” of the state

proceedings.124 Unlike Younger abstention, application of O’Shea is not limited to certain

categories of state court proceedings.125

       Here, Plaintiffs ask the Court to issue an injunction that would control future

decisions made by superior courts, including decisions relating to placements and services.

If issued, the injunction would “place the district court in the position of conducting an



123
        Citizens for Free Speech, 953 F.3d at 657-58.
124
        See 414 U.S. 488, 500 (1974); see, e.g., Oglala Sioux Tribe, 904 F.3d at 611-12
(citing O’Shea, 414 U.S. 488); Disability Rights N.Y. v. New York, 916 F.3d 129, 134-35
& n.3 (2d Cir. 2019); E.T. v. Cantil-Sakauye, 682 F.3d 1121, 1123 (9th Cir. 2012).
125
        Disability Rights N.Y., 916 F.3d at 134-35 and n.3.

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ongoing ‘federal audit’ of” superior courts to ensure their orders complied with the

injunctive relief Plaintiffs request.126

       For example, Plaintiffs seek an injunction requiring that all placements be

“appropriate,” “in the least restrictive environment,” and “ICWA-compliant.”127 To ensure

compliance and enforce that injunction, the Court would need to review the hundreds of

placement decisions issued annually by superior courts. And superior courts would be

stripped of their responsibility for determining if placements are in the child’s best interest.

They would also be subject to ongoing federal court oversight and second-guessing.

       Plaintiffs even seek relief that would expressly require Defendants, in future CINA

cases, to “file and proceed with a timely petition to free a child for adoption” in certain

circumstances.128 As the Eighth Circuit has explained, O’Shea prohibits claims in which

“[t]he relief requested would interfere with the state judicial proceedings by requiring the

defendants to comply with numerous procedural requirements.”129 Accordingly, in the

event the Court finds Younger does not apply, abstention under O’Shea is appropriate.

               b.     Areas of Traditional State Authority.

       As an alternative to abstaining under Younger and O’Shea, courts may abstain from



126
       Oglala Sioux Tribe, 904 F.3d at 612 (abstaining under O’Shea because the relief
requested would “place the district court in the position of conducting an ongoing ‘federal
audit’ of [the state’s] temporary custody proceedings”); E.T. v. Cantil-Sakauye, 682 F.3d
at 1124 (abstaining under O’Shea because “potential remediation might involve
examination of the administration of a substantial number of individual cases”).
127
       See Am. Compl., p. 91 (request for injunctive relief “c”).
128
       Id. at p. 92 (request for injunctive relief “h”).
129
       Oglala Sioux Tribe, 904 F.3d at 612.

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hearing a case when to do otherwise “risks a serious federalism infringement.”130

       For example, in J.B. v. Woodard, the Seventh Circuit abstained from exercising

jurisdiction over a parent’s lawsuit that would have interfered with an ongoing custody

proceeding, because it would “threaten interference with and disruption of local family law

proceedings – a robust area of law traditionally reserved for state and local government –

to such a degree as to all but compel the federal judiciary to stand down.”131

       The same is true here: issuing an injunction that would cabin state court decisions

with respect to the placement, planning and care of foster children in the state’s custody

would constitute such an intrusion in an area of traditional state authority as “to all but

compel the federal judiciary to stand down.”

              c.     The Rooker-Feldman Doctrine Bars Plaintiffs’ Challenge to
                     Decisions Already Litigated in Superior Court.

                     1.     The Rooker-Feldman Doctrine, Generally.

       The Rooker-Feldman doctrine132 applies to “cases brought by state court losers

complaining of injuries caused by state-court judgments,”133 and it prohibits federal district

courts from reviewing state court decisions or entertaining claims that are “inextricably

intertwined” with state court decisions, unless Congress has specifically authorized it.134


130
       J.B. v. Woodard, 997 F.3d 714, 723 (7th Cir. 2021).
131
       Id.
132
       The doctrine derives its name from two Supreme Court cases: Rooker v. Fidelity
Trust Co., 263 U.S. 413 (1923) and District of Columbia Court of Appeals v. Feldman, 460
U.S. 462 (1983).
133
       Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005).
134
       Feldman, 460 U.S. at 482-84 n.16; Bianchi v. Rylaarsdam, 334 F.3d 895, 898 (9th
Cir. 2003.

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jurisdiction able to hear federal claims.144 Thus, the Plaintiffs could have raised their

federal claims in those proceedings.145

       Finally, the Named Plaintiffs cannot evade Rooker-Feldman simply because they

bring claims on behalf of a putative class. A class has not been certified; thus, the only

relevant allegations are those of the Named Plaintiffs.146

B.     Plaintiffs Lack Standing to Bring What Few Claims are Not Subject to
       Abstention Doctrines.

       After most of Plaintiffs’ claims are channeled into superior court by the abstention

doctrines discussed above (resulting in dismissal), lack of standing disposes of the rest.147

       Article III standing is a component of subject matter jurisdiction, which courts have

an independent obligation to review throughout the proceeding.148 The elements of

standing are: (1) injury in fact; (2) causation; and (3) redressability.149

       In a putative class action, allegations of unnamed, putative class members are

irrelevant for purposes of subject matter jurisdiction.150 As the Supreme Court explained,


144
       See Part II.B, supra.
145
       See, e.g., Guess, 967 F.2d at 1002-03 (Rooker-Feldman applies even if the claim is
not presented to the state court, as long it could have been brought in the state court action).
146
       See Part III, supra.
147
       See, e.g., Ashley W. 34 F.4th at 592.
148
       In re Palmdale Hills Property, LLC, 654 F.3d 868, 873 (9th Cir. 2011); United
States v. Taylor, 796 F.3d 788, 791 (7th Cir. 2015) (“Nevertheless, we must fulfill our
independent obligation to ensure that federal courts have subject-matter jurisdiction
throughout the proceedings.”).
149
       Id. “[The] plaintiff must demonstrate standing separately for each form of relief
sought.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185
(2000).
150
       See Part III.B, supra.

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each named plaintiff must establish their own standing independently of any putative class:

       [T]he doctrine of standing to sue is not a kind of gaming device that can be
       surmounted merely by aggregating the allegations of different kinds of
       plaintiffs, each of who may have claims that are remote or speculative taken
       by themselves. Instead, the basic inquiry, for each party seeking to invoke
       the authority of the federal courts, is whether that party alleges injury that is
       fairy traceable to the challenged conduct and likely to be redressed by the
       requested relief.151

       Here, the Named Plaintiffs failed to meet the three standing requirements.

       i.     Element No. 1: Injury.

              a.     When a Plaintiff Seeks Injunctive Relief, Past Injuries are
                     Insufficient to Satisfy the Injury Requirement.

       To establish an injury, the plaintiff must allege some threatened or actual injury

resulting from the conduct complained about.152 When a plaintiff seeks injunctive relief (as

opposed to damages), “[p]ast exposure to illegal conduct does not in itself show a present

case or controversy...if unaccompanied by any continuing, present adverse effects.”153 In

other words, past harms do not satisfy the injury requirement;154 instead, plaintiffs must

demonstrate a likelihood of repeated injury or future harm absent an injunction.155

       For example, in City of Los Angeles v. Lyons, the plaintiff was improperly placed in

a deadly choke hold by the police.156 He sought monetary damages and an injunction


151
      ASARCO, Inc. v. Kadish, 490 U.S. 605, 615-616 (1989) (emphasis in original).
152
      Linda R.S. v. Richard D., 410 U.S. 614, 617 (1973).
153
      O'Shea v. Littleton, 414 U.S. 488, 495-96 (1974) (emphasis added).
154
      Stack v. City of Hartford, 170 F. Supp. 2d 288, 293 (D. Conn. 2001) (quoting
Deshawn E. v. Safir, 156 F.3d 340, 344 (2d Cir. 1998).
155
      Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011); Whitaker
v. Garcetti, 11 F. App'x 921, 922 (9th Cir. 2001).
156
      461 U.S. 95, 105–106 (1983).

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preventing the police from using choke holds without determining whether a suspect posed

a risk to an officer's safety.157 The Supreme Court held that while the plaintiff had standing

to seek damages, he lacked standing to pursue injunctive relief because he failed to allege

not only that he would have another encounter with the police, but also that (1) all police

officers in Los Angeles choke all citizens they encounter, or (2) the city ordered or

authorized police officers to act in such a manner.158

       The Seventh Circuit reached a similar result in Ashley W.159 There, the court found

the named plaintiffs lacked standing to complain about how child welfare cases are handled

before court proceedings begin because they were already in those proceedings:

       Much of the relief proposed by plaintiffs’ complaint and briefs concerns how
       child-welfare investigations are handled before CHINS proceedings begin.
       Yet both of the remaining plaintiffs (indeed, all ten original plaintiffs) were
       already in CHINS proceedings when the case began. They do not have any
       current interest in how pre-litigation investigations are conducted.160

       In short, while prior injuries might support standing to seek monetary damages,

mere exposure to past illegal conduct, without more, is not enough for injunctive relief.161




157
        Id.
158
        Id. at 106.
159
        Ashley W. v. Holcomb, 34 F.4th 588, 593 (7th Cir. May 16, 2022) (Easterbrook, J.)
(motion for rehearing and en banc denied June 15, 2022).
160
        Id.
161
        Shain v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004) (“While past injury supplied a
predicate for compensatory damages, it did not ... supply one for equitable relief since the
fact that such practices had been used in the past did not translate into a real and immediate
threat of injury to [the plaintiff].”) (interpreting Lyons, supra).

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              b.     Plaintiffs Failed to Allege a Likelihood of Repeated Injury or
                     Future Harm.

       Here, the Named Plaintiffs make a host of allegations that, if taken as true, might

establish “past exposure to illegal conduct.”162 But Plaintiffs’ requests for injunctive relief

are entirely divorced from the illegal conduct they were allegedly exposed to. In fact, not

one of the 18 requests for injunctive relief references ongoing or threatened harm to a

Named Plaintiff, much less puts a stop to a specific ongoing harm.163

       The allegations related to the Named Plaintiffs illustrate the point. For example,

Plaintiffs Jeremiah M., Hannah M, and Hunter M. complain that OCS caseworkers failed

to return phone calls from their maternal grandmother.164 But even if the allegation is true,

the Complaint fails to allege any ongoing or imminent harm as a result of the caseworker’s

conduct. And Plaintiffs do not ask the Court to order the particular case worker to return

the grandmother’s calls more promptly.

       Similarly, Rachel T. and Eleanor T. complain that OCS failed to provide medical

consent forms to their foster parents in August 2020, but they subsequently admit the forms

were provided a month or so later in “September or October 2020.”165 The Complaint does

not allege the forms were later taken away, or that the children are suffering any ongoing



162
       O’Shea, 414 U.S. at 495-95.
163
       This highlights that the litigation is really directed at overhauling Alaska’s OCS
system, not improving the plight of any particular Named Plaintiff (as noted below, there
is an Alaska superior court ready, willing, and able to address any specific complaints the
Named Plaintiffs might have about OCS).
164
       Am. Compl. ¶ 48.
165
       Id. at ¶ 104.

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harm as a result of OCS’s one month delay in providing the forms. And like the example

above, Plaintiffs do not ask the Court to order OCS to provide Rachel T. or Eleanor T.’s

medical records to their foster parents.

       ii.    Element No. 2: Causation.

              a.     The Plaintiff’s Injury Must be Fairly Traceable to the
                     Defendant’s Conduct.

       To demonstrate causation, the plaintiff must allege facts showing that the injury is

causally linked or “fairly traceable” to the defendant’s alleged misconduct, and not the

result of misconduct of some third party not before the court.166

       “The line of causation between the defendant's action and the plaintiff's harm must

be more than attenuated.”167 “[W]here the causal chain involves numerous third parties

whose independent decisions collectively have a significant effect on plaintiffs'

injuries...the causal chain is too weak to support standing.”168

       While the question arose in a different context (i.e. whether or not to impose a

common law duty of care on social workers), the Alaska Supreme Court held in Karen L.

v. State that the superior courts’ involvement in CINA proceedings breaks any causal link

between OCS’s conduct and the placement and treatment of children in Alaska’s foster

care system.169 The Court explained that CINA cases “incorporate substantial protections


166
       Wash. Env't Council v. Bellon, 732 F.3d 1131, 1141 (9th Cir. 2013).
167
       Id. (emphasis added); see also Part II.B.ii, supra (discussing CINA Rule 19.1).
168
       Id. at 1142 (quoting Native Vill. of Kivalina v. ExxonMobil Corp., 696 F.3d 849,
867 (9th Cir.2012), cert denied, -- U.S. --, 133 S.Ct. 2390, 185 L.Ed.2d 1116 (2013)).
169
       Karen L. v. State, Dep’t of Health & Soc. Servs., Div. of Fam & Youth Servs., 953
P.2d 871, 877 (Alaska 1998) (emphasis added).

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for parents and children,” and the Court the found any causal connection between the social

worker’s conduct and the mother’s alleged injury was “remote” because the child’s

removal and placement was “the result of a court order,” which itself was “the product of

an adversarial CINA proceeding.”170 Moreover, the court explained that the superior

court’s approval of temporary placement decisions “further attenuates any connection

between the social worker defendants’ conduct and the injury.”171

              b.     Plaintiffs’ Complaint Fails to Plead a Causal Link Between the
                     Challenged Conduct and the Injuries Sustained by the Named
                     Plaintiffs.

       The Named Plaintiffs assert a host of high-level complaints about OCS’s historical

challenges, including objections to high caseworker caseloads, turnover, number of

available foster homes, and OCS case planning, among other things. They also include

various facts about the experiences of the Named Plaintiffs themselves, most of which

relate to placements. The Complaint then seeks sweeping, system-wide injunctive relief

purportedly designed to address their high-level complaints about OCS.

       But missing are specific allegations linking OCS’s alleged historical problems to

the circumstances of the Named Plaintiffs themselves. In other words, the Complaint fails

to plausibly demonstrate, through any reasonably specific allegations, that even if OCS had

lower caseloads, less turnover, more placements, better case planning etc., things would

have turned out differently for the Named Plaintiffs.




170
       Id.
171
       Id. at 878.

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       Even allegations that are subject to abstention doctrines lack the requisite causal

link. For example, Plaintiff              alleges she was mistreated at

facility, which is apparently associated with the                               .172 First of all,

her complaint could have been raised in superior court. But in addition, there is no

allegation that                 is run or controlled by OCS, nor does the Complaint allege

OCS knew or should have known                 might be mistreated if she was placed there. In

short, the Complaint establishes no causal link between OCS’s conduct and the injuries

          suffered at the                .

       iii.   Element No. 3: Redressability.

       Redressability is the third element of standing, and it is the most problematic one

for the Plaintiffs here. To establish redressability, a plaintiff must show that it is likely, as

opposed to merely speculative, that its injury will be redressed by a favorable decision.173

              a.      Redressability Turns on Younger Abstention.

       The Seventh Circuit addressed the relationship between redressability and Younger

in Ashley W.174 Reviewing allegations strikingly similar to those made here, the court

explained that redressability turns on the threshold question of whether the plaintiff’s



172
        Am. Compl. ¶ 117-119.
173
        Bernhardt v. County of Los Angeles, 279 F.3d 862, 869 (9th Cir. 2002) (citing
Laidlaw, 528 U.S. at 181). In the context of a putative class action, only harms that are
likely to occur to a named plaintiff are relevant in assessing standing; prospective harms to
potential members of a putative class cannot be considered. See, e.g., Otero v. Dart, No.
12 C 3148, 2012 WL 5077727, at *5 (N.D. Ill. Oct. 18, 2012) (“Otero also cannot attain
standing to seek equitable relief based on the harms that may occur to potential members
of an alleged class that has not been certified and may never be.”).
174
        Ashley W., 34 F.4th at 592.

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complaints could be resolved in a pending state court abuse-and-neglect proceeding:

       Indiana contends that the plaintiffs lack standing. The district judge replied,
       in essence, that of course the plaintiffs have standing – as litigants in CHINS
       proceedings, they are vitally concerned with questions such as the size and
       training of the Department’s staff,175 whether the Department does its utmost
       to prevent siblings from being sent to different foster homes,176 how often
       CHINS reviews occur,177 and so on. It is hard to disagree with that view in
       the abstract – but also hard to accept that standing should be resolved in the
       abstract. The question is whether issues such as the ones we have
       mentioned…matter to these plaintiffs in a way that a court could redress.
       And the answer to that question depends on whether Younger channels some
       or all of plaintiffs’ contentions into CHINS proceedings.178

       If the answer is “yes, the plaintiff’s claims can be resolved in a state court

proceeding,” then the court must abstain because “[d]isputes that can be resolved in a

CHINS [or CINA] case must be resolved there.”

       If the answer is “no, the claim cannot be resolved in a state court proceeding[,]”

then the question becomes whether a federal court can provide effective equitable relief

within the confines of its jurisdiction. The Seventh Circuit explained:

       So it becomes important to know just what relief the two children with live
       claims want that could not be provided by the judge in a CHINS proceeding.

       …

       Counsel contended at argument that many placements are too slow – in part
       because there aren’t enough people willing to serve as foster parents – or are
       made less than optimally. Counsel asserted that bureaucracy moves
       sluggishly and makes too many mistakes. But what can a federal court do
       about these things that a CHINS judge could not?...We could imagine, as a
       potential response, a contention that the state must increase the payments

175
       Plaintiffs make the same allegations here. See, e .g., Am. Compl., ¶¶ 155-56, 261.
176
       Plaintiffs make the same allegations here. See, e.g., Am. Compl., ¶¶ 60, 170.
177
       Plaintiffs make the same allegations here. See, e.g., Am. Compl., ¶¶ 183, 189.
178
       Ashley W., 34 F.4th at 592 (emphasis added, italics in original).

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       offered to people willing to be foster parents, or that the Department needs
       money to hire more social workers so that the caseload of each may be
       reduced, but counsel for the plaintiffs disclaimed any argument that a federal
       court could or should increase the agency’s budget. Yet, short of ordering the
       state to come up with more money, it is hard to see what options are open to
       a federal court but closed to a CHINS court.179

       In Ashley W., the Seventh Circuit held it could not provide any equitable relief with

respect to the few claims not subject to Younger because the court lacked subject matter

jurisdiction. As noted above, the court balked at the notion that it could force the State of

Indiana to hire more workers, find more foster families, or speed up placements.180

Accordingly, the Seventh Circuit concluded the case should be dismissed.181

              b.     Here, All of the Relief Plaintiffs Requests are Either: (1) Available
                     in Superior Court; or (2) Beyond the Court’s Jurisdiction.

       This case is no different than Ashley W. Twelve of Plaintiffs’ 18 requests for

injunctive relief relate to complaints that can, and should, be raised in the Named Plaintiffs’

CINA cases.182 Those requests are disposed of by the abstention doctrines described above.

       Four of the requests – “a,” “b,” “p,” and “q” – are the type of aspirational requests

with which the Seventh Circuit found a redressability problem. For example, request “a”

asks the Court to set OCS case worker caseloads. Request “b” would have the Court force

OCS to hire more workers. And requests “p” and “q” ask for an injunction requiring OCS

to find more therapeutic service providers and therapeutic foster homes.


179
      Id. at 593-94 (internal citations omitted).
180
      Id.; see also discussion of M.D. by Stukenberg, infra.
181
      Id.
182
      Requests “c,” “d,” “e,” “f,” “g,” “h,” “i,” “j,” “k,” “n,” “o,” and “r” could all be
addressed by superior courts.

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       But it is entirely speculative whether that relief would actually improve the plight

of any Named Plaintiff.183 More importantly, as explained in Ashley W., the relief requested

in “a,” “b,” “p,” and “q” is simply not available from a federal court.184

       The last two remaining requests – “l” and “m” – ask for relief that is unavailable as

a matter of law (see Parts IV.C and IV.E.v, supra).

C.     The Pennhurst Doctrine Bars Plaintiffs’ Request for an Order Requiring
       Defendants to Comply with State Law.

       Under the Pennhurst doctrine, federal courts lack jurisdiction over claims seeking

forward-looking relief based on state law.185 The Supreme Court put it bluntly: “[I]t is

difficult to think of a greater intrusion on state sovereignty than when a federal court




183
        See, e.g., Conner B. ex rel. Vigurs v. Patrick, 985 F.Supp.2d 129, 144 (D. Mass.
2013) (acknowledging that “neither bolstering the administrative ranks nor obtaining the
requisite number of foster homes will resolve the ongoing placement challenges related to
ensuring a child’s unique fit with a prospective placement, a consideration which rightly
figures prominently in placement decisions.”).
184
        Ashley W., 34 F.4th at 593-94; see also Part IV.D, infra (discussing the limits on
injunctive relief); see also, e.g., Missouri, 515 U.S. at 131 (“When district courts seize
complete control…they strip state and local governments of one of their most important
governmental responsibilities, and thus deny their existence as independent governmental
entities…State and local [] officials not only bear the responsibility for [] decisions, they
also are better equipped than a single federal judge to make the day-to-day policy...Federal
courts simply cannot gather sufficient information to render an effective decree, have
limited resources to induce compliance, and cannot seek political and public support for
their remedies.”) (Thomas, J., concurring).
185
        Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 100 (1984); Seldovia
Native Ass'n, Inc. v. Lujan, 904 F.2d 1335, 1349–50 (9th Cir. 1990); Hale v. State of
Arizona, 967 F.2d 1356, 1369 (9th Cir. 1992), affirmed on reh'g, 993 F.2d 1387 (9th Cir.
1993) (“the Eleventh Amendment deprives federal courts of jurisdiction to order state
actors to comply with state law”).

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instructs state officials on how to conform their conduct to state law.”186

       Here, at least one of Plaintiffs’ requests for relief violates Pennhurst. For instance,

Plaintiffs seek an injunction “[r]equir[ing] Defendants to assist unlicensed kinship

caregivers in obtaining foster care licenses to take care of members of the Kinship

Subclass.”187 But the only legal basis Plaintiffs cite that might support the requested

injunction is Alaska state law:

       State law requires OCS to assist appropriate and willing kinship providers in
       seeking and obtaining licensure under state law, whenever possible, and to
       help them to obtain variances so long as these variances do not implicate the
       safety of foster children. See ALASKA STAT. § 47.14.115 (2021).188

       Accordingly, Plaintiffs’ request for injunctive relief “m” is barred by Pennhurst.

D.     Plaintiffs’ Requests for Injunctive Relief Fail as a Matter of Law.

       Rule 65 sets the requirements for injunctions and restraining orders.189 It provides

that any injunction must “describe in reasonable detail – and not by referring to the

complaint or other document – the act or acts restrained or required.”190

       Case law further restricts injunctive relief in institutional reform cases. To begin

with, institutional reform injunctions are disfavored because they raise sensitive federalism




186
       Pennhurst, 465 U.S. at 106. Similarly, while the Ex Parte Young doctrine permits
some suits otherwise barred by the Eleventh Amendment where the relief sought is
declaratory or injunctive, it is inapplicable to state law claims. Id.
187
       Am. Compl., p. 93 (request for injunctive relief “m”).
188
       Am. Compl., p. 70 (¶ 235).
189
       FED. R. CIV. PRO. 65(d).
190
       Id at 65(d)(1)(C).

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concerns, and they commonly involve areas of core state responsibility.191 Accordingly,

remedies “must directly address and relate to the constitutional violation itself.”192

       “[F]ederal court decrees exceed appropriate limits if they are aimed at eliminating

a condition that does not violate the Constitution or does not flow from such a violation.”193

Orders that go beyond what is minimally required to comport with the Constitution's

prohibition on arbitrary deprivation of substantive due process rights are likewise

prohibited.194 Finally, injunctions must be “narrowly tailor[ed]...to remedy the specific

action which gives rise to the order.”195 Here, four of the requests for relief run afoul of

Rule 65 and the case law.

       First, requests “a” and “b” blatantly violate Rule 65 because they fail to describe, in

reasonable detail, the acts restrained or required. They would require OCS to (1) “maintain

caseloads…as developed by either the COA and/or the CWLA;” and (2) “recruit and/or

retain enough qualified and appropriately trained workers…as set by the COA and/or

CWLA.” Not only are the requests vague, they also refer to standards set by third parties

that are not before the court, and which could be changed at any time. Accordingly, requests

“a” and “b” are improper under Rule 65.

       Requests “p” and “q” suffer the same flaw. They would have the Court require OCS



191
       Horne v. Flores, 557 U.S. 433, 448 (2009).
192
       Milliken v. Bradley, 433 U.S. 267, 282 (1977).
193
       Id.
194
       Gates v. Collier, 501 F.2d 1291, 1303 (5th Cir. 1974).
195
       Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 586 (5th
Cir. 2013) (internal quotation omitted).

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to develop an “adequate array” of community-based therapeutic services, foster homes,

and placements. But “adequate array” is vague and undefined, and the relief depends upon

the willingness of third parties not before the court to provide services or serve as

caregivers.196 As a result, requests “p” and “q” are likewise improper under Rule 65.

       In addition to their Rule 65 problems, requests nearly identical to those made by the

Plaintiffs here have been rejected for over-breadth. For example, in M.D., the Fifth Circuit

overturned injunctive relief setting case worker caps and requiring the state to recruit and

hire more workers; the court explained:

       One of the most controversial injunction items is the district court's
       designation of a “caseload cap.”…While caseload caps strike at the heart of
       the workload problem, we agree with the State that they are too blunt a
       remedy for a complex problem. They constitute “relief beyond what [is]
       minimally required” to remedy the constitutional violation.197

       In sum, requests “a,” “b,” “p,” and “q” fail to satisfy Rule 65; they also run afoul of

the restrictions on equitable relief set forth in the case law cited above.

E.     Plaintiffs Fail to State Claims on Which Relief May be Granted.

       Even if the Court does not abstain or dismiss the case for lack of jurisdiction, none



196
        See M.D. by Stukenberg v. Abbott, 907 F.3d 237, 268 (5th Cir. 2018) (“Importantly,
the availability of foster homes, particularly those that provide the most ‘home-like,’ ‘least
restrictive’ environments, is something uniquely out of the State’s control.”) (emphasis
added). In striking down injunctive relief related to placement array and group foster
homes, the court further stated: “These provisions are not calculated to remedy an
identified constitutional violation. They may reflect ‘best practices’ or the personal policy
preferences of the district court, but they are not necessary to achieve constitutional
compliance. Moreover, many of these provisions only increase caseworkers’
administrative burdens.” Id at 283 (emphasis added).
197
        M.D., 907 F.3d at 273–74 (emphasis added). (“In short, mandatory caps are not only
an extreme remedy, they are imprecise.”).

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of the counts state a claim for which relief can be granted.

       i.     Plaintiffs’ Substantive Due Process Claim (Count I) Fails as a Matter of
              Law.

       Count I takes “aspirational statutory, regulatory, and private standards as to a variety

of topics within the overall complex of foster child care” and attempts to “convert each of

them to constitutional requirements.”198 But Plaintiffs’ standards are not within scope of

Fourteenth Amendment Substantive Due Process protections.199

       As the Ninth Circuit explained, “the Fourteenth Amendment’s Due Process clause

generally does not confer any affirmative right to governmental aid, even where such aid

may be necessary to secure life, liberty, or property interests.”200 However, in certain

circumstances, when “the state assumes wardship of a child, the state owes the child, as

part of that person’s protected liberty interest, reasonable safety and minimally adequate

care and treatment appropriate to the age and circumstances of the child.”201

       To survive a motion to dismiss on a Substantive Due Process claim, including a

claim that the State violated substantive due process in its treatment of children in foster

care, a plaintiff must allege facts that show: (1) deprivation of a cognizable constitutional


198
        Connor B. ex rel. Vigurs v. Patrick, 774 F.3d 45, 55 (1st Cir. 2014).
199
        See id. (“The district court correctly rejected that attempt, as do we.”); Wyatt B. v.
Brown, 2021 WL 4434011, at *8 (D. Or. Sept. 27, 2011) (“The weight of authority clearly
demonstrates that the rights secured by the Fourteenth Amendment, though significant, are
strictly limited in scope.”).
200
        Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th Cir. 2011) (citing DeShaney v.
Winnebago Cnty. Dep’t of Social Servs., 489 U.S. 189, 196 (1989)).
201
        Lipscomb v. Simmons, 962 F.2d 1374, 1379 (9th Cir. 1992) (citing DeShaney, 489
U.S. at 199-200; Youngberg v. Romeo, 457 U.S. 307, 315-16 (1982); Estelle v. Gamble,
429 U.S. 97, 103-04 (1976)).

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right; (2) the defendants’ policies and practices about which the plaintiffs complain

“shocked the conscience” and constituted “deliberate indifference”; and (3) the defendants’

conscious-shocking deliberate indifference caused the constitutional deprivation.202

       Plaintiffs Complaint fails to meet that standard. With respect to the first prong, in

the context of foster care, a child has the right to “basic human needs”; that is, once a State

takes a child into custody, the State becomes responsible for providing “basic human

needs—e.g., food, clothing, shelter, medical care, and reasonable safety.”203

       Alaska state law and policy appropriately provide that Defendants supply foster

children with much more than their “basic human needs,” and Defendants are devoted to

doing so. However, the constitutional protections of substantive due process apply only to

the narrow band of “basic human needs.”

       Here, Plaintiffs’ Complaint does not allege that they have been deprived of “basic

human needs.” Instead, they assert a litany of rights, purportedly secured by the U.S.

Constitution, to a certain type or length of custodial arrangement or placement,204 and to




202
       See, e.g., Cty. of Sacramento v. Lewis, 523 U.S. 833, 846-50 (1998); Rios v. City of
Del Rio, Tex., 444 F.3d 417, 422-24, 426-27 (5th Cir. 2006) (citing Collins v. City of Harker
Heights, 503 U.S. 115 (1992)); Serna v. Colorado Dep’t of Corr., 455 F.3d 1146, 1151
(10th Cir. 2006); Mark v. Borough of Hatboro, 51 F.3d 1137, 1149 (3d Cir. 1995)).
203
       DeShaney, 489 U.S. at 200.
204
       See, e.g., Compl. ¶¶ 251(d); 251(f); 251(g) (“the right to conditions and duration of
foster care reasonably related to the purpose of government custody”; “the right not to be
maintained in custody longer than is necessary to accomplish the purpose to be served by
taking a child into government custody”; “the right to receive or be reunited with an
appropriate permanent home and family within a reasonable period”).

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certain types of social services.205 While many of the asserted “rights” might arguably

amount to sound policy – indeed, many reflect the laws and policies of Alaska – they are

not constitutionally mandated rights of children in state custody.

       The Supreme Court has rejected the notion that Substantive Due Process extends to

the type of placement decisions forming the crux of the Complaint. In Reno v. Flores,

detained migrant children asserted a substantive due process right to be placed with a non-

relative custodian, rather than a child-care institution.206 In rejecting the claim, the Court

expressly addressed the consequences a contrary holding would have for state child welfare

systems:

       If there exists a fundamental right to be released into what respondents
       inaccurately call a “noncustodial setting,”…we see no reason why it would
       apply only in the context of government custody incidentally acquired in the
       course of law enforcement. It would presumably apply to state custody over
       orphans and abandoned children as well, giving federal law and federal
       courts a major new role in the management of state orphanages and other
       child care institutions…The mere novelty of such a claim is reason enough
       to doubt that “substantive due process” sustains it[.]207

       Not surprisingly, a number of courts have similarly rejected Substantive Due

Process claims that the type and duration of foster care placement is subject to review under

Substantive Due Process principles.208


205
        See, e.g., Am. Compl. ¶¶ 269(c); 269(e) (“the right to services necessary to prevent
unreasonable risk of harm in the least restrictive environment”; “the right to treatment and
care consistent with the purpose and assumptions of government custody”).
206
        507 U.S. 292, 302 (1993).
207
        Id.
208
        See, e.g., K.H. Through Murphy v. Morgan, 914 F.2d 846, 853 (7th Cir. 1990)
(rejecting substantive due process claim to a “stable foster-home environment”); see Wyatt
B., 2021 WL 4434011, at *9 (“The right to substantive due process does not … extent to
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       As for the Plaintiffs’ claims that the Constitution entitles them to certain services,

the Supreme Court has concluded that Substantive Due Process requires the State to

provide only the “minimally adequate care and treatment” required to assure personal

safety.209 “Even then a State necessarily has considerable discretion in determining the

nature and scope of its responsibilities,” and the Court has cautioned that a State need not

“choose between attacking every aspect of a problem or not attacking the problem at all.”210

       Applying that standard to state child welfare putative class actions, courts have

rejected the argument that a State can be constitutionally liable for the “alleged failure to

provide [an] array of social services.”211

       Only two of the seven purported Substantive Due Process “rights” that the Plaintiffs




placement in an optimal or least-restrictive setting, or to the availability of an array of
placement options.”); Clark K. v. Guinn, 2007 WL 1435428, at *11 (D. Nev. 2007) (no
right “to placement in the least restrictive, most family-like setting”); Charlie H. v.
Whitman, 83 F. Supp. 2d 476, 507 (D.N.J. 2000) (no “substantive due process right to ‘not
remain in state custody unnecessarily,’ or ‘be housed in the least restrictive, most
appropriate and family-like placement while in state custody” (citations omitted)); Eric L.
By and Through Schierberl v. Bird, 848 F. Supp. 303, 307 (D.N.H. 1994) (rejecting
substantive due process claim to placement stability); B.H. v. Johnson, 715 F. Supp. 1387,
1397-987 (N.D. Ill. 1989) (substantive due process does not extend to “stable placements
in the least restrictive setting”).
209
        Youngberg v. Romeo, 457 U.S. 307, 319 (1982).
210
        Id. at 317.
211
        Mark G. v. Sabol, 717 N.E.2d 1067 (N.Y. 1999); see also Baby Neal v. Casey, 821
F. Supp. 320, 335-39 (E.D. Pa. 1993) (no right to broad array of foster care services), rev'd
on other grounds, 43 F.3d 48 (3d Cir. 1994); B.H., 715 F. Supp. at 1397 (rejecting due
process claim of entitlement to “family reunification” services, “parental and sibling
visitation,” and “adequate caseworkers”).

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assert even arguably relate to a “basic human need” of physical safety.212 But even for

those, the allegations fail to satisfy the second and third prongs of the Substantive Due

Process test because the Plaintiffs have not alleged facts sufficient to show the Defendants’

policies and practices constitute “deliberate indifference” that is “conscience shocking”

and caused a constitutional deprivation with respect to the Named Plaintiffs.213

       The Ninth Circuit has explained that the deliberate indifference standard, as applied

in the context of foster care, requires the plaintiff to show “(1) that there was an objectively

substantial risk of harm; (2) the [State] was subjectively aware of facts from which an

inference could be drawn that a substantial risk of serious harm existed; and (3) the [State]

either actually drew that inference or a reasonable official would have been compelled to

draw that inference.”214 The State’s duty does not extend to protection against unknown

harm or dangers.215 Nor does the Constitution “require that the defendants instantly fix all

deficiencies in the foster care system.”216

       The Complaint does not allege facts that support a finding that the State was aware,

or should have been aware of, “an objectively substantial risk of harm,” or that the State

ignored such a risk of harm. As a general matter of policy, every injury or act of



212
        See Am. Compl. ¶¶ 269(a); 269(c) (“the right to freedom from the foreseeable risk
of maltreatment”; the right to services “necessary to prevent unreasonable risk of harm”).
213
        See Lewis, 523 U.S. at 850.
214
        Momox-Caselis v. Donohue, 987 F.3d 835, 845 (9th Cir. 2021) (citing Tamas v.
Dep’t of Soc. & Health Servs., 630 F.3d 833, 844-47 (9th Cir. 2010)).
215
        Id. at 846 (“The [State] could not be deliberately indifferent to a situation of which
it had no knowledge.”).
216
        Connor B., 774 F.3d at 56.

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maltreatment for a child in state custody – including those that are unknown, infrequent,

incidental, or negligent – is unacceptable. But as a matter of constitutional law, Plaintiffs’

Complaint fails to identify a single policy, practice, or action that resulted in Defendants

making foster care placement or service decisions that were deliberately indifferent to the

Named Plaintiffs’ right to personal safety and security.217

       Plaintiffs’ generic and conclusory allegations – e.g., Defendants’ “long-standing

and well-documented actions and inactions substantially depart from accepted professional

judgement and constitute deliberate indifference to the harm, risk of harm, and violations

of Plaintiffs’ legal rights”218 – are not sufficient to survive a motion to dismiss. As the

Supreme Court has explained, “[a] plaintiff's obligation to provide the ‘grounds’ of his

‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” 219

       The Complaint also makes boilerplate allegations that the State’s “actions and

inactions, policies, patterns, customs, and/or practices” harmed the Plaintiffs by failing “to

protect them from harm and risk of harm while in [the Defendants’ care] by failing to

properly provide for their service and medical needs.”220 But Plaintiffs do not identify a



217
        See M.D. by Stukenberg v. Abbott, 907 F.3d 237, 251 (5th Cir. 2018) (“Incidental
psychological injury that is the natural, if unfortunate consequence of being a ward of the
state does not give rise to the level of a substantive due process violation.”).
218
        Am. Compl. ¶ 32.
219
        Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also Papasan v.
Allain, 478 U.S 265, 286 (1986) (on a motion to dismiss, courts “are not bound to accept
as true a legal conclusion couched as a factual allegation”).
220
        Am. Compl. ¶ 140.

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single specific action, inaction, policy, pattern, custom, or practice by a single Defendant

that could possibly establish “deliberate indifference” to the basic needs of the Named

Plaintiffs, or to children in foster care generally, that “shocks the conscience.” Plaintiffs’

allegations fall short of showing the “plausible entitlement to relief” required to survive a

motion to dismiss.221 Accordingly, the substantive due process claims should be dismissed.

       ii.    The “Right to Family Association” Claim (Count II) Fails as a Matter of
              Law.

       Plaintiffs also assert a vague right to “familial association” purportedly granted by

the First, Ninth and Fourteen Amendments. These claims too should be dismissed.

       The Ninth Amendment “has never been recognized as independently securing any

constitutional right, for the purposes of pursuing a civil rights claim.”222 And while the

First and Fourteenth Amendments may protect some aspects of the parent-child

relationship, courts in the Ninth Circuit have been hesitant to expand these protections to

other—even close—kinship relationships.223


221
        Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (1985).
222
        Strandberg v. City of Helena, 791 F.2d 744, 748-49 (9th Cir. 1986); see also,
Goodpaster v. City of Indianapolis, 736 F.3d 1060, 1075 (7th Cir. 2013); Johnson v. Tex.
Bd. of Crim. Just., 281 Fed. App’x 319, 320 (5th Cir. 2008); Crossley v. California, No.
20-0284, 2020 WL 4747723 (S.D. Cal. Aug. 17, 2020); Menefee v. Tacoma Pub. Sch. Dist.
No. 10, No. C17-6037, 2018 WL 1532773, at *4 (W.D. Wash. Mar. 29, 2018).
223
        J.P. ex. rel. Villanueva v. Cnty. of Alameda, 803 F. App’x 106, 109 (9th Cir. 2020)
(“No viable loss-of-familial-association claim exists for siblings under the First
Amendment.”); Olvera v. Cnty. of Sacramento, 932 F. Supp. 2d 1123, 1148 (E.D. Cal.
2013) (“Relying only vaguely on the ‘emotional attachments’ between siblings, plaintiffs
do not cite a single case in support of their theory that siblings have a liberty interest
protected by the Due Process Clause.”); Miller v. California, 355 F.3d 1172 (9th Cir. 2004)
(holding noncustodial grandparents do not possess substantive due rights to family
integrity or association with their grandchildren, even if they are the children’s “de facto
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       Further, while Defendants’ goal is to find a stable home for all children, there is no

affirmative constitutional right to a “permanent home and family.”224 Nor is there a

constitutional right to “all reasonable efforts toward fostering familial association.”225

       While the Complaint here alleges OCS made it “difficult” for the Named Plaintiffs

to see their families, none of the conduct complained about amounts to a constitutional

violation. Accordingly, Plaintiffs’ right to familial association claim should be dismissed.

       iii.   The Indian Child Welfare Act Claim (Count IV) Fails as a Matter of
              Law.

              a.     The Indian Child Welfare Act (ICWA), Generally.

       Congress enacted ICWA in 1978 to establish “minimum Federal standards for the

removal of Indian children from their families and the placement of such children in foster


parents”); Ragan v. Cnty. of Humboldt Dep’t of Health & Hum. Servs., No. 16-CV-05580-
RS, 2017 WL 878083, at *6 (N.D. Cal. Mar. 6, 2017) (citing Huk v. Cnty. of Santa Barbara,
650 F. App’x 365, 367 (9th Cir. 2016)) (“[T]he Ninth Circuit recently held in an
unpublished opinion that . . . [foster parents] could not demonstrate that their custody of
their foster child was a liberty interest protected by the due process clause.”).
224
        Am. Compl., ¶ 271; see Mullins v. Oregon, 57 F.3d 789, 794 (9th Cir. 1995) (“A
negative right to be free of governmental interference in an already existing familial
relationship does not translate into an affirmative right to create an entirely new family unit
out of whole cloth.”).
225
        Am. Compl., ¶ 275; Marisol A. ex rel. Forbes v. Giuliani, 929 F. Supp. 662, 676
(S.D.N.Y. 1996) (quoting Dixey v. Jewish Child Care Assoc., 522 F. Supp. 913, 916
(S.D.N.Y.1981)) (“[P]lantiffs ‘do not have a constitutional right to rely on an agency to
strengthen and reunite their families even if that agency has a statutory duty to do so.’”);
see Charlie H. v. Whitman, 83 F. Supp. 2d 476, 513-14 (D.N.J. 2000) (“The so-called right
to family integrity will not be extended to situations where a plaintiff…alleges limited
familial contact, as compared to no contact.”); B.H. v. Johnson, 715 F. Supp. 1387, 1397
(N.D. Ill. 1989) (finding that the state has no constitutional obligation “to provide training
necessary to reunite them [children in foster care] with their families, to ensure parental
and sibling visitation, stable placement in the least restrictive setting possible, and an
adequate number of follow-up case workers.”).

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or adoptive homes which will reflect the unique values of Indian culture.”226 To that end,

ICWA sets forth specific jurisdictional and procedural requirements applicable to Indian

children, their families, and their tribes.

       Specifically, Section 1911 provides for a dual jurisdictional scheme in cases

involving the foster care placement and termination of parental rights for Indian children,

including, among other things, that the Indian child’s tribe has a right to intervene at any

point in a state court proceeding.227

       Section 1912 sets forth certain rules for state court child welfare proceedings,

including that the child’s tribe must be notified and given the right to intervene (§ 1912(a));

that parents must be provided court-appointed counsel (§ 1912(b)); that no child can be

removed unless “active efforts” have been made to provide remedial services and

rehabilitative programs and these efforts have proved unsuccessful (§ 1912(d)); and that

any removal of a child must be supported by “clear and convincing evidence” that the

continued custody of the child by the parent or Indian custodian is likely to result in serious

emotional or physical damage to the child ( § 1912(e)).

       Section 1913 provides parental protections in the case of a parent or Indian

guardian’s voluntary consent to a foster care placement or termination of parental rights.

               b.     Private Rights of Action Under ICWA.

       Section 1914 is the only provision of ICWA that creates a private right of action. It


226
      25 U.S.C. § 1902; see also Mississippi Band of Choctaw Indians v. Holyfield,
490 U.S. 30, 36-37 (1989).
227
      25 U.S.C. § 1911(c).

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provides that any Indian child, parent, or tribe may “petition any court of competent

jurisdiction to invalidate [a state] action upon a showing that such action violated any

provision of sections 1911, 1912, and 1913.”228

       The Ninth Circuit has held that Section 1914 creates a private cause of action to

petition a federal court to “invalidate a state court foster care placement or termination of

parental rights if it is in violation of [Sections] 1911, 1912, or 1913.”229 The court has also

recognized a limited implied right of action to recognize the full faith and credit of tribal

courts in adoption proceedings, pursuant to the provision in Section 1911(d) giving full

faith and credit to tribal court decisions in child custody proceedings.230

              c.     Plaintiffs Failed to Plead a Viable ICWA Claim.

       Here, Plaintiffs fail to plead any violations of the ICWA provisions that fall within

Section 1914’s cause of action. Plaintiffs do not allege state courts have improperly

exercised jurisdiction over the removal of Indian children or the termination of parental

rights of Indian parents.231 Plaintiffs do not allege that when a CINA case involves an

Indian child, OCS fails to notify or involve the child’s tribe.232 And Plaintiffs do not plead

that OCS fails to employ “active efforts” before removing an Indian child from his or her

home, or that OCS removes Indian children without finding clear and convincing evidence




228
       25 U.S.C. § 1914.
229
       Doe v. Mann, 415 F.3d 1038, 1047 (9th Cir. 2005).
230
       See Native Village of Venetie v. Alaska, 944 F.2d 548, 553-54 (9th Cir. 1991).
231
       25 U.S.C. § 1911(a).
232
       See id. § 1912(a).

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that continued custody is likely to result in severe emotional or physical harm.233 In fact,

Plaintiffs do not even allege they are “Indian child[ren]” entitled to ICWA’s procedures.234

       Instead, Plaintiffs’ claims center on Section 1915 of ICWA, which provides that if

an Indian child is taken into state custody, the agency must place the child “in the least

restrictive setting which most approximates a family and in which his special needs, if any,

may be met,” and “a preference shall be given, in the absence of good cause to the contrary,

to a placement with”:

       (1)    A member of the Indian child’s extended family;
       (2)    A foster home licensed, approved, or specified by the Indian child’s tribe;
       (3)    An Indian foster home licensed or approved by an authorized non-Indian
              licensing authority; or
       (4)    An institution for children approved by an Indian tribe or operated by an
              Indian organization which has a program suitable to meet the Indian child’s
              needs.235

       But Section 1915 is not one of the procedural protections identified in Section 1914

for which the Ninth Circuit has recognized a cause of action.236 In fact, several federal

courts—including the district court in the decision preceding the Ninth Circuit’s decision

in Doe v. Mann––have held that there is no private cause of action under Section 1915.237


233
      See id. § 1912(d)-(e).
234
      See id. § 1903(4) (defining “Indian” as “any person who…is an Alaska Native and
a member of a Regional Corporation as defined in section 1606 of Title 43”); see also
Umtuch v. Hoyt, 163 F.3d 609 (9th Cir. 1998) (holding ICWA inapplicable when children
were not “Indian child[ren]”).
235
      Id. § 1915(b).
236
      See Mann, 415 F.3d at 1047.
237
      See Doe v. Mann, 285 F. Supp. 2d 1229, 1240 (N.D. Cal. 2003) (“There is no
evidence in the text of section 1915, the structure of ICWA or the legislative history that
Congress intended to create a cause of action for such violations.”); Jumping Eagle v.
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Accordingly, Plaintiffs’ claims that their placements did not follow Section 1915’s order

of preferences fail as a matter of law and should be dismissed.238

       Moreover, Plaintiffs failed to plead any facts showing OCS violated Section 1915,

which sets certain placement preferences, any of which may be overridden for good

cause.239 While Plaintiffs made vague allegations that OCS failed to place some children

in an ICWA-preferred setting (which Plaintiffs refer to, inaccurately, as “ICWA-compliant

homes,” see, e.g., First Amended Compl. ¶¶ 80, 259), they did not allege any specific

placement decision of the Named Plaintiffs (or any other Indian child) departed from

ICWA’s placement preferences without good cause in violation of Section 1915(b).

       Further, contrary to Plaintiffs’ insinuations, ICWA permits, and in some cases

requires, that an Indian child be placed in a placement that does not follow the typical order

of preferences. For example, if an Indian child has medical needs that require him to be

placed in a home near a medical center, and the only available placement near the center is

a non-Indian licensed foster home, ICWA permits the child to be placed in the lesser-




Warren, 18-4131, 2021 WL 462644 (D.S.D. Feb. 9, 2021) (“§ 1915 does not create a
separate cause of action”); Collins v. Bern, 04-4182, 2006 WL 8453547 (D.S.D. Aug. 30,
2006) (“ICWA, however, does not provide a private right of action for alleged violations
of § 1915.”).
238
       See Blessing v. Freestone, 520 U.S. 329, 340 (1997) (explaining that a plaintiff
seeking redress in federal court “must assert the violation of a federal right, not merely a
violation of federal law”).
239
       See 25 U.S.C. § 1915(b) (providing that an Indian child must be placed in a setting
“in which his special needs, if any, may be met” and that the preferred order need not be
followed upon a showing of “good cause”).

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preferred foster home. In fact, that very fact scenario has played out in superior courts.240

       In short, Plaintiffs’ claims amount to no more than a disagreement with some of the

individual placement decisions that Alaska superior courts have made in cases involving

Indian children. As long as the state agency and state courts followed the procedures set

forth in Sections 1911, 1912, and 1913, however, the Ninth Circuit has made clear that

ICWA does not provide an avenue for federal court review of those decisions.241

       Finally, while Section 1915 sets forth certain placement preferences to be applied

by state courts on a case-by-case basis, there is nothing in the statute that would support

Plaintiffs’ allegations that ICWA requires States to maintain a certain number of “licensed

ICWA foster homes,” see First Amended Compl., at ¶ 256; furnish maintenance payments

to unlicensed kinship caregivers, id. at ¶ 257; limit the number of children who can be

placed in an institutional setting, id. at ¶ 258; seek and identify all potential placement

options, see id. at ¶ 259; or “consistently review” a child’s placement to see “how to move

the child to a legally preferred placement,” see id. at ¶ 290.

       Rather, Section 1915 requires only that States place Indian children in the most




240
       See Cora C. v. State, No. S-16798, 2018 WL 2979472 (Alaska June 13, 2018); see
also Adoptive Couple v. Baby Girl, 570 U.S. 637, 642 (2013) (holding that ICWA’s
placement preferences do not bar a particular placement “when no other eligible candidates
have sought to adopt the child”).
241
       See Mann, 415 F.3d at 1041-43 (noting that Section 1914 functions as a “limited”
exception to Rooker-Feldman’s jurisdictional bar by granting “federal courts authority to
invalidate a state court foster care placement or termination of parental rights if it is in
violation of [Sections] 1911, 1912, or 1913.”); cf. Oglala Sioux Tribe v. Fleming, 904 F.3d
603 (8th Cir. 2018) (abstaining from hearing a challenge brought under ICWA § 1922
under Younger abstention principles).

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preferred placement option available and suited to the child’s needs. To the extent Plaintiffs

believe OCS or a superior court failed to comply with that provision, the proper recourse

is a state court appeal, as Congress has not provided a right of action in federal court.

       iv.    The 42 U.S.C. § 672(a) Claim (Count V) Fails as a Matter of Law.

       Citing 42 U.S.C. § 672, Plaintiffs complain that unlicensed relative or kinship

caregivers do not receive foster care maintenance payments; instead, they are eligible for

Emergency Relief Support payments or assistance under Alaska’s Temporary Assistance

Program, which offer less money than regular maintenance payments.242

       Plaintiffs then request injunctive relief “[e]njoin[ing] Defendants from withholding

foster care maintenance payments from eligible unlicensed kinship caregivers of members

of the Kinship Subclass.”243 Plaintiffs’ request fails as a matter of law.

       To begin with, there is no legal basis for requiring Defendants to make maintenance

payments to these unlicensed caregivers. Federal law only requires states to provide

maintenance payments if “the child has been placed in a foster family home or child-care

institution.”244 The statute defines “foster family home” to mean a “home for children

which is licensed by the State in which it is situated or has been approved, by the agency

of such State having responsibility for licensing homes of this type, as meeting the




242
       Am. Compl., pp. 66-68, ¶¶ 224-227.
243
       Id. at 93 (request for injunctive relief “l”) (emphasis added).
244
       42 U.S.C. § 672(a)(2)(C).

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standards established for such licensing.”245

       In other words, there are two categories of foster families to whom the states must

make maintenance payments: (1) licensed foster parents; and (2) state-approved foster

homes that meet the standards for licensing. Thus, there is no legal basis for requiring

Defendants to make maintenance payments to unlicensed caregivers unless OCS has

approved the caregiver “as meeting the standards established for such licensing.”

       But the Complaint fails to allege Defendants approved a home as meeting the

licensing standards, then failed to make maintenance payments to it.246 Accordingly,

Plaintiffs’ request for injunctive relief “l” should be dismissed as a matter of law.

       v.     The ADA and Rehabilitation Act Claims (Counts VI and VII) Fail as a
              Matter of Law.

       Counts VI and VII should be dismissed because the facts alleged do not constitute

discrimination and thus fail to state a cause of action for which relief can be granted under

the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101 et seq., and Section 504

of the Rehabilitation Act, 29 U.S.C. §§ 794 et seq.

       Title II of the ADA prohibits public entities from discriminating on the basis of

disability.247 Section 504 similarly prohibits disability discrimination by recipients of



245
       Id. § 672(c)(emphasis added); see also, e.g., D.O. v. Glisson, 847 F.3d 374, 382-83
(6th Cir. 2017) (explaining Kentucky’s procedure for “approval” included a background
check and home evaluation, which are also required for licensed foster parents).
246
       In fact, just the opposite. See, e.g., Am. Compl., p. 18, ¶ 47 (admitting Ms. S. was
never licensed); pp. 21-22, ¶ 64 (admitting Ms. Y filled out licensing applications, but
“need[ed] a variance” in order to become approved).
247
       42 U.S.C. § 12132.

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federal funds.248 The two laws are interpreted coextensively because “there is no significant

difference in the analysis of rights and obligations created by the two Acts.”249

       To state a prima facie Title II claim, “a plaintiff must show: (1) he is a ‘qualified

individual with a disability’; (2) he was either excluded from participation in or denied the

benefits of a public entity's services, programs, or activities, or was otherwise discriminated

against by the public entity; and (3) such exclusion, denial of benefits, or discrimination

was by reason of his disability.”250 The elements of a Section 504 claim are similar, with

the additional requirement that the plaintiff show “the program receives federal financial

assistance.”251

       Here, Plaintiffs do not assert they were excluded from participation in or otherwise

denied the benefits of Alaska’s child welfare program on the basis of their disabilities.

Rather, Plaintiffs assert they have a variety of health conditions and allege OCS has or has

not taken various actions related in some way to the treatment of those conditions.

       For example, the Complaint alleges OCS did not “provide information about any of

the children’s medical needs and failed to provide the children’s medical consent forms to

foster parents” for one set of siblings (¶102); has “lagged in paying for services…including

treatment for a staph infection…and surgery” for another set of siblings (¶103); failed to



248
       29 U.S.C. § 794.
249
       Payan v. Los Angeles Cmty. Coll. Dist., 11 F.4th 729 (9th Cir. 2021); K.M. ex rel.
Bright v. Tustin Unified Sch. Dist., 725 F.3d 1088, 1098 (9th Cir. 2013).
250
       Townsend v. Quasim, 328 F.3d 511, 517 (9th Cir. 2003) (quoting Duvall v. Cty. of
Kitsap, 260 F.3d 1124, 1135 (9th Cir. 2001)).
251
       Id. (citation omitted).

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secure timely parental consent for non-routine behavioral medication for Rachel T. (¶105);

did not assist Gayle T. in getting treatment after she injured her back at work; and told

Jeremiah M.’s foster parent that the “nonverbal diagnosis assessment and specific

treatment of autism” he needs was available only in Anchorage, four hours away (¶ 48).

There are also three general allegations that David V., George V. and Lawrence V. have

“not been receiving any services” while in OCS custody. These allegations, even if

accepted as true, do not constitute a claim of discrimination on the basis of disability.

       The Supreme Court has emphasized the ADA does not “impose[ ] on the States a

standard of care for whatever medical services they render” or “require States to provide

a certain level of benefits to individuals with disabilities.”252 And the Ninth Circuit has

confirmed the ADA prohibits only discrimination “because of disability,” not “inadequate

treatment for disability.”253 In short, a Title II claim “survives only if it truly alleges a

‘discriminatory denial of services’ and must be dismissed if it instead concerns the




252
       Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 603 n.14 (1999); Alexander v.
Choate, 469 U.S. 287, 305-06 (1985) (under Rehabilitation Act, state “is not required to
assure that its handicapped Medicaid users will be as healthy as its nonhandicapped
users.”).
253
       Simmons v. Navajo Cnty., Ariz., 609 F.3d 1011, 1022 (9th Cir. 2010), overruled on
other grounds by Castro v. Cty. of Los Angeles, 833 F.3d 1060, 1071 (9th Cir. 2016).
Simmons is consistent with the opinions from other Courts of Appeals that “the disabilities
statutes do not guarantee any particular level of medical care for disabled persons, nor
assure maintenance of service previously provided.” See, e.g., Cercpac v. Health & Hosps.
Corp., 147 F.3d 165, 168 (2d Cir. 1998); Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir.
1996) (concluding that the ADA “would not be violated by a prison's simply failing to
attend to the medical needs of its disabled prisoners”).

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       The mere fact that temporary inpatient services may have been necessary for

children and youth who are alleged to have serious emotional disturbances is not in itself a

violation of the ADA. As the Supreme Court held in Olmstead, only “unjustified” isolation

in institutions constitutes discrimination under the ADA. This means, among other things,

that “the State’s treatment professionals have determined that community placement is

appropriate” and that the community placement “can be reasonably accommodated.”258

       Here, the Complaint does not allege “the State’s treatment professionals ha[d]

determined that community placement is appropriate” at the time

          were temporarily placed in psychiatric treatment centers. In fact, children in

Alaska may only be placed in a secure residential psychiatric treatment center if a superior

court determines the placement is justified and in the child’s best interest. Specifically, the

superior court must find, “based on the testimony of a mental health professional,” that:

       (1)     the child is gravely disabled or is suffering from mental illness and,
       as a result, is likely to cause serious harm to the child or to another person;

       (2)    there is no reasonably available, appropriate, and less restrictive
       alternative for the child's treatment or that less restrictive alternatives have
       been tried and have failed; and

       (3)   there is reason to believe that the child's mental condition could be
       improved by the course of treatment or would deteriorate if untreated.259

       Further, placements in all other residential treatments are approved by superior

courts in CINA cases as “appropriate” and in the “best interests” of the child, and all such




258
       Olmstead, 527 U.S. at 587.
259
       AS 47.10.087 (2016).

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placements can be challenged by the child or any other party in the CINA proceeding.260

       Given that superior courts review and assess all placements under these procedures

– and the Complaint does not allege these procedures were not followed in the case of the

three Named Plaintiffs who spent some period of time in residential treatment (or in any of

the other Named Plaintiffs’ cases) – the Plaintiffs have failed to allege facts to support a

claim that any alleged isolation or institutionalization was “unjustified.”

       Finally, to the extent Plaintiffs argue the State should ensure there are more

physicians, psychologists, and providers of specialized community mental health services

in often remote parts of Alaska for all state residents, including foster children, nothing in

the ADA or the Rehabilitation Act requires the State to ensure sufficient providers across

the State. Moreover, creating more providers of specialized community mental health

services in often remote parts of Alaska for all state residents, including foster children, is

not something that OCS or this Court can reasonably do.              Having alleged neither

discriminatory denial of services nor unjustified institutional isolation, Plaintiffs’ ADA and

Rehabilitation Act claims should be dismissed for failure to state a cause of action.

                                  V.      CONCLUSION

       For the reasons set forth above, Defendants request the Court dismiss the Complaint.




260
       See Part II.A-B, supra.

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      Dated: August 26, 2022.

                                        Respectfully submitted,
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                           CERTIFICATE OF SERVICE

      A true and correct copy of this motion was served on counsel of record for the

Plaintiffs via the CM/ECF and electronic mail on August 26, 2022.

                                        /s/ Christopher A. Robison
                                        Christopher A. Robison




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